Case 3:14-cv-00852-REP-AWA-BMK Document 231 Filed 11/13/17 Page 1 of 54 PageID# 8710




                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA
                                   (RICHMOND DIVISION)

    GOLDEN BETHUNE-HILL, et al.,

                  Plaintiffs,

           v.

    VIRGINIA STATE BOARD OF
    ELECTIONS, et al.,
                                               Civil Action No. 3:14-cv-00852-REP-AWA-BMK
                  Defendants.


                DEFENDANT-INTERVENORS’ REMAND POST-TRIAL BRIEF




     Dalton Lamar Oldham, Jr. (pro hac vice)      E. Mark Braden (pro hac vice)
     Dalton L Oldham LLC                          Katherine L. McKnight (VSB No. 81482)
     1119 Susan Street                            Richard B. Raile (VSB No. 84340)
     Columbia, SC 29210                           BAKER & HOSTETLER LLP
     Tel: (803) 237-0886                          1050 Connecticut Ave NW, Suite 1100
     dloesq@aol.com                               Washington, DC 20036
                                                  Tel: (202) 861-1500
                                                  Fax: (202) 861-1783
                                                  mbraden@bakerlaw.com
                                                  kmcknight@bakerlaw.com
                                                  rraile@bakerlaw.com

                                                  Counsel to the Virginia House of Delegates
                                                  and Virginia House of Delegates Speaker
                                                  William J. Howell
Case 3:14-cv-00852-REP-AWA-BMK Document 231 Filed 11/13/17 Page 2 of 54 PageID# 8711




                                                         TABLE OF CONTENTS

    Introduction ......................................................................................................................................1

    Argument .........................................................................................................................................3

         I. Race Was Not the Predominant Factor ................................................................................3

               A. The Inquiry on Remand .................................................................................................4

               B. Statewide Evidence ........................................................................................................6

                     1. There Is No Actual Conflict Between Race and Traditional
                        Criteria .....................................................................................................................6

                     2. There Are No Stark Racial Differences in Demographic
                        Movements ...............................................................................................................8

                     3. The 55% BVAP Target Was a Minor Constraint ..................................................15

                     4. The BVAP Target Was One Factor Among Many and Had
                        a Qualitatively Minor Role in District Configuration ............................................17

               C. District-Specific Evidence ...........................................................................................19

         II. All Districts Are Narrowly Tailored ..................................................................................30

               A. The House’s Statewide Strategy Was Narrowly Tailored ...........................................31

               B. Each District Individually Is Narrowly Tailored .........................................................43

         III. Plaintiffs’ Theory, if Law, Would Gut the VRA ...............................................................47

         IV. The Court’s Discretion in Remedying Any Violations Is Restricted ................................48

    Conclusion .....................................................................................................................................50




                                                                             i
Case 3:14-cv-00852-REP-AWA-BMK Document 231 Filed 11/13/17 Page 3 of 54 PageID# 8712




                                             INTRODUCTION

           Given the lengthy procedural history of this case, it is worth remembering how the

    relevant facts unfolded. In 2011, facing the most limited time of any state to accomplish “the

    most difficult task a legislative body ever undertakes,” Smith v. Beasley, 946 F. Supp. 1174,

    1207 (D.S.C. 1996), the Virginia House turned to Delegate Chris Jones, “a person who has

    carried many very difficult, challenging, complex pieces of legislation,” “is not known as an

    ideologue,” “is careful to listen to all parties concerned,” and has a track record of “building

    consensus.” 2 Tr. 879:13–25.1 Delegate Jones spent hundreds of hours considering the opinions

    of Delegates from both political parties to meet local needs. His effort received bipartisan praise,

    including from Democratic Delegate Mark Sickles who remarked that Delegate Jones “has

    handled himself in such a professional matter” that “if I…had been in charge of this, I would

    hope that I could have handled it in as professional a manner.” PEX40 at 49–50.

           It also was undisputed in 2011 that “only” Delegate Jones’s plan reflected “input” from

    the House Black Caucus. PEX35 at 141–49. Then-Vice Chair of the Black Caucus, Lionel

    Spruill, stated on the House floor that “mostly every member of the Black Caucus” was

    consulted, as were NAACP leaders in Suffolk, Chesapeake, and Virginia Beach. PEX35 at 142,

    146–47. No one disagreed, and House members responded with “[a]pplause.” PEX35 at 149.

    Delegate Rosalyn Dance said she was “proud to be a part of [the] team” sponsoring the plan, it

    was “truly a fair process,” and the plan should pass because “it does provide the 55 percent

    voting strength that I was concerned about as I looked at the model and looked at the trending as

    far as what has happened over the last 10 years,” PEX35 at 157; PEX33 at 44. Delegate Delores

    McQuinn wrote in 2011 to constituents that the enacted House plan is “a fair and equitable


    1
     The first trial transcript (July 2015) is cited throughout this brief as “1 Tr. page(s):line(s)”; the
    second (October 2017) is cited as “2 Tr. page(s):line(s).”
                                                       1
Case 3:14-cv-00852-REP-AWA-BMK Document 231 Filed 11/13/17 Page 4 of 54 PageID# 8713




    redistricting plan.” 2 TR 110:17–20. And, in response to allegations by two white Delegates that

    the plan “is bad for minorities,” Delegate David Englin, a Democrat from Alexandria, answered

    that “to suggest that Democrats voting for this plan are trying to harm minorities or not

    sufficiently standing up for minorities is an affront and an offense that is not borne out by the

    facts.” IEX4 at 12. Delegate Englin asserted that “an objective analysis of this plan, an analysis

    based on facts and reason and principle, suggests that on balance it’s a fair and reasonable plan,

    which is why so many Democrats voted for it.” IEX4 at 13. Indeed, they did—as did every

    Republican, nearly every Black Caucus Member, and every Delegate trial witness.

            Yet, as Plaintiffs would have it, that was then, and this is now. Their case “history”

    begins—not in 2011—but years later in litigation over Virginia’s Congressional plan. Pls’ Post-

    Trial Brief, ECF No. 230, at 1 (“Br.”). And the facts they rely on are—not the context and

    considerations when the plan was drawn—but mischaracterized litigation strategies and

    arguments during and after 2015. Id. at 1–3. Plaintiffs offer biased “expert” conjecture on motive

    in place of the map-drawers’ direct testimony; after-the-fact equivocation by Delegates in place

    of what they said or did not say six years ago; and a repackaging of their obsolete per se

    argument that “a target criteria” is “the end of the analysis,” 1 Tr. 841:13–21 (Hamilton), in

    place of a “holistic analysis” of “all of the lines of the district at issue,” Bethune-Hill v. Va. State

    Bd. of Elections, 137 S. Ct. 788, 800 (2017).

            This post hoc circus is a diversion from the Court’s task on remand, assessing whether (1)

    Plaintiffs proved predominance “in the absence of an actual conflict,” and (2) the House had

    “good reasons” to believe the plan needed 12 ability-to-elect districts each with a “functional

    working majority.” Id. at 799, 801–802. The evidence supports the defense on both questions.

    First, it shows that the Voting Rights Act presented one set of considerations among many and



                                                       2
Case 3:14-cv-00852-REP-AWA-BMK Document 231 Filed 11/13/17 Page 5 of 54 PageID# 8714




    that other considerations were not “cast aside.” Id. at 799. Second, it shows that the benchmark

    plan had 12 ability-to-elect districts, and the new plan would also need 12 with sufficient BVAP

    to maintain minority voting strength without reliance on crossover voting, which the House

    could not prove existed. The decision to draw 55% BVAP districts was reasonable.

           It is as true today as in 2015 that Plaintiffs cannot distinguish the House plan from all

    other standard redistricting efforts, so they advocate a change in law. The Supreme Court did not

    oblige, and this Court should not either. It should uphold all the Challenged Districts.

                                                  Argument

           This case presents two questions: (1) whether Plaintiffs proved “that race was the

    predominant factor motivating the legislature’s decision to place a significant number of voters

    within or without a particular district,” Bethune-Hill, 137 S. Ct. at 797, and (2) whether the

    House had “‘good reasons to believe’ it must use race in order to satisfy the Voting Rights Act,

    even if a court does not find that the actions were necessary for statutory compliance,” id. at 801

    (quotation marks omitted). The evidence supports Defendant-Intervenors on both issues.

    I.     Race Was Not the Predominant Factor

           States bear “the duty and responsibility” of redistricting. Chapman v. Meier, 420 U.S. 1,

    27 (1975). The VRA does not abrogate that duty, and thus states’ “broad discretion” extends to

    “drawing districts to comply with” the VRA. League of Latin Am. Citizens v. Perry, 548 U.S.

    399, 429 (2006). Courts therefore “must exercise extraordinary caution in adjudicating claims

    that a State has drawn district lines on the basis of race.” Bethune-Hill, 137 S. Ct. at 797

    (quotation marks omitted). “[R]edistricting differs from other kinds of state decisionmaking in

    that the legislature always is aware of race when it draws district lines, just as it is aware of a

    variety of other demographic factors.” Id. (quotation and edit marks omitted). “In light of these

    considerations,” a racial-gerrymandering plaintiff “bears the burden to show that race was the

                                                       3
Case 3:14-cv-00852-REP-AWA-BMK Document 231 Filed 11/13/17 Page 6 of 54 PageID# 8715




    predominant factor motivating the legislature’s decision to place a significant number of voters

    within or without a particular district.” Id. (quotation marks and edits omitted) “To satisfy this

    burden, the plaintiff must prove that the legislature subordinated traditional race-neutral

    districting principles to racial considerations.” Id. (quotation marks omitted).

            A.      The Inquiry on Remand

            The Supreme Court identified two errors in this Court’s prior analysis: (1) that it required

    proof of “an actual conflict between the enacted plan and traditional districting principles” and

    (2) that “it considered the legislature’s racial motive only to the extent that the challengers

    identified deviations from traditional redistricting criteria that were attributable to race and not to

    some other factor.” 137 S. Ct. at 797, 799. As to the first, the Supreme Court instructed this

    Court to assess whether predominance is evident “in the absence of an actual conflict.” Id. As to

    the second, the Supreme Court instructed this Court to conduct a “holistic analysis” to “take

    account of the districtwide context,” rather than “divorce any portion of the lines…from the rest

    of the district.” Id. at 12. This Court “must consider all of the lines of the district at issue.” Id.

            Plaintiffs wrongly claim victory in this remand directive. On appeal, they asked the

    Supreme Court to answer the following question in the affirmative:

            Did the court below err by concluding that the admitted use of a one-size-fits-all
            55% black voting age population floor to draw twelve separate House of
            Delegates districts does not amount to racial predominance and trigger strict
            scrutiny?

    Appellants’ Br. at (1). Only two Justices gave that affirmative answer, and the majority opinion

    tracks, not Plaintiffs’ position, but that of the United States as amicus curiae, which argued:

            Because a plaintiff must show that race predominantly dictated the movement of
            people into separate districts, the district court correctly recognized that the
            existence of a racial target does not, by itself, establish predominance. A racial
            target may end up playing little or no role in how district lines are actually
            constructed. And even when a racial target is one motivating factor in the drawing
            of some lines, race may still not predominate over other non-racial factors in the

                                                        4
Case 3:14-cv-00852-REP-AWA-BMK Document 231 Filed 11/13/17 Page 7 of 54 PageID# 8716




            design of the district as a whole. [Plaintiffs] therefore err insofar as they suggest
            that the predominance standard is satisfied merely by evidence that a racial target
            was used in drawing the districts, without a showing that the target predominantly
            drove those lines.

    U.S. Br. at 12 (citations omitted). The Solicitor General argued further that Plaintiffs’ rule would

    “threaten intrusive judicial scrutiny of redistricting plans as a matter of course” and “discourage

    voluntary compliance with the VRA.” U.S. Br. at 15. Plaintiffs argued against that view. See

    Appellants’ Reply at 6–7 & n.1. And they lost. Instead of ruling that a “black voting age

    population floor” amounts “to racial predominance and trigger[s] strict scrutiny,” Appellants’ Br.

    at (i), the Court remanded for a “holistic analysis” of the target’s effect on “all of the lines of the

    district at issue.”2 Bethune-Hill, 137 S. Ct. at 800. Contrary to Plaintiffs’ assertions, Br. at 1, the

    55% target is old news.3 See 2 Tr. 6:3–6 (Judge Payne). The Court’s remand task is not to

    determine whether the target existed, but to conduct a “holistic analysis” to assess its qualitative

    impact on the placement of “a significant number of voters within or without a particular

    district” as compared to other factors. Bethune-Hill, 137 S. Ct. at 800.

            B.      Statewide Evidence

            The analysis proceeds district by district, but evidence “pertaining to an area that is larger

    or smaller than the district at issue” may be probative. Bethune-Hill, 137 S. Ct. at 800. Although




    2
      The term “holistic” does not appear in Plaintiffs’ Supreme Court briefing. It appears 5 times in
    the brief of the United States.
    3
      Intervenors have always conceded a 55% target. 1 Tr. 20:18–23; 1 Tr. 860:4–7. They argued in
    2015 that Delegate Jones did not initially believe he hit the target in all districts, proving it was
    “a negotiable 55 percent target.” Int’s Post-Trial Br., ECF No. 106, at 14–15. Although the
    unrebutted record supports this fact, see 2 Tr. 625:17–626:19, Defendant-Intervenors long ago
    abandoned the argument, Highlighted Memorandum Opinion, ECF No. 157-1, at 23–27, which
    was a minor part of their 2015 defense, see Int’s Post Trial Br., ECF No. 106 at 15. If Plaintiffs
    seriously believe Defendant-Intervenors did not concede this “until the eve of trial,” Br. at 7 n.2,
    they have not been paying attention.

                                                       5
Case 3:14-cv-00852-REP-AWA-BMK Document 231 Filed 11/13/17 Page 8 of 54 PageID# 8717




    the Supreme Court clarified there may be multiple ways to show predominance, none of the

    conceivably relevant methods supports Plaintiffs’ case.

                      1.   There Is No Actual Conflict Between Race and Traditional Criteria

           One form of probative evidence is “a conflict or inconstancy” between racial goals and

    traditional criteria. Bethune-Hill, 137 S. Ct. at 799. Because “legislatures that engage in

    impermissible race-based redistricting” generally “find it necessary to depart from traditional

    principles in order to do so,” proof of actual conflict will “as a practical matter” be necessary “in

    many cases, perhaps most cases.” Id. But the Court already found that the 55% goal did not

    conflict with traditional principles for the remaining Challenged Districts, and Plaintiffs’ appeal

    did not challenge those factual findings as clearly erroneous. See Appellants’ Br. at 6 (“This

    appeal challenges the legal standard the majority developed and applied in evaluating racial

    predominance….”). So the Court’s prior findings are law of the case. See Int’s Statement of

    Position, ECF No. 146, at 5; Int’s Response Statement of Position, ECF No. 152, at 3.

           Besides, the record confirms the Court’s findings. The two most knowledgeable fact

    witnesses testified that racial considerations did not conflict with the House’s criteria. 1 Tr.

    343:3–8 (Jones); 2 Tr. 598:10–14 (Morgan). This case therefore differs from Cooper v. Harris,

    137 S. Ct. 1455, 1468–69 (2017), which Plaintiffs’ selectively quote (at 1, 8, 12), where the map-

    drawing consultant testified that “he sometimes could not respect county or precinct lines as he

    wished because ‘the more important thing’ was to create a majority-minority district.” That did

    not occur here.

           To the contrary, the plan follows traditional districting norms. Six of the Challenged

    Districts are as or more compact than in the benchmark. PEX15 at 14. No incumbents were

    paired in the Challenged Districts. IEX 15 at 15. The Challenged Districts retained, on average,



                                                      6
Case 3:14-cv-00852-REP-AWA-BMK Document 231 Filed 11/13/17 Page 9 of 54 PageID# 8718




    approximately 3 of 4 constituents. Id. The number of split jurisdictions remained the same as

    before. Id at 4. And VTD splits increased by only 1%. Id. at 5. Dr. Hofeller concluded that “the

    individual majority minority districts” are “at least as compact and contiguous as the 1991 and

    2001 maps and individual minority districts,” that the map “is consistent with lower chamber

    maps in similarly situated states,” that there is a “high degree of individual district core retention

    in 2011,” and that there “was a high degree of protection extended to incumbents.” IEX14 ¶¶ 76–

    79. And the Court previously found that political considerations explained, better than race, the

    deviations from traditional criteria that arguably occurred. 141 F. Supp. at 568, 570–71.

           Plaintiffs rely on Dr. Rodden to prove what “applications of traditional redistricting

    principles would” be absent VRA compliance. PEX69 at 3. But he was certified as an expert in

    “geo-spatial data analysis and its application to redistricting,” 2 Tr. 159:1–7, and that does not

    qualify him to opine on what does and does not comport with traditional criteria. His extensive

    conjecture about what the Virginia House should have done, e.g., PEX69 at 3, 11, 13, 18–23, is

    unfounded. Nor is he positioned to answer the question “whether race was the predominant

    factor in the drawing of the map,” 2 Tr. 161:19–22, because “predominant factor” means

    “motive,” Bethune-Hill, 137 S. Ct. at 800, a term Dr. Rodden was not shy to use, e.g., PEX69 at

    66. But experts do not exist to read minds. 2 Tr. 156:24–157:3; 159:1–14.

           Moreover, Dr. Rodden’s report is neither “based on reliable methodology,” nor does it

    “reliably flow from [a] methodology and the facts at issue.” Heller v. Shaw Indus., Inc., 167 F.3d

    146, 152 (3d Cir. 1999). It consists of his “personal opinions and speculations.” Ollier v.

    Sweetwater Union High Sch. Dist., 768 F.3d 843, 861 (9th Cir. 2014). He looks at dots on maps

    and characterizes them, which is not expert opinion. United States v. Brewer, 783 F.2d 841, 843

    (9th Cir. 1986) (finding expert testimony unnecessary to view photographs because a factfinder



                                                      7
Case 3:14-cv-00852-REP-AWA-BMK Document 231 Filed 11/13/17 Page 10 of 54 PageID#
                                   8719



   can assess what a picture depicts); United States v. Angelos, 417 F. App’x 786, 797 (10th Cir.

   2011) (same). He does not itemize the traditional criteria he considered, how he measured them,

   or how each metric compares across a consistent data set. He mentions them ad hoc, randomly

   stating, for example, that that HD70 is “quite non-compact” without a measurement, PEX69 at

   30, or assessing other districts’ compactness (such as HD71 or HD92). He instead evaluates

   different districts through different ad hoc criteria. By contrast, Dr. Hofeller’s 2015 report

   provides compactness scores for every district in the last three Virginia cycles, as well as scores

   in other states’ plans and in plans challenged in notable litigation. IEX14 Tables 1–10. By that

   objective method, the Court can see that HD70 is compact. IEX14 at 77–78. The Court can

   objectively assess Dr. Hofeller’s views; it must take Dr. Rodden’s on faith.

                  2.      There Are No Stark Racial Differences in Demographic Movements

          Another pertinent form of evidence suggesting predominance is “stark splits in the racial

   composition of populations moved into and out of disparate parts of the district.” Bethune-Hill,

   137 S. Ct. at 800. That evidence does not exist here.

          Basic Numbers. The district the Supreme Court scrutinized in Alabama Legislative

   Black Caucus v. Alabama saw the addition of “15,785 individuals” of whom “just 36 were

   white.” 135 S. Ct. 1257, 1271 (2015). The district at issue in Cooper saw the addition of “tens of

   thousands of additional African-American voters,” in a move that “deviated from the districting

   practices [the state’s consultant] otherwise would have followed.” 137 S. Ct. at 1469. The

   numbers here pale by comparison. According to Dr. Ansolabehere, the average BVAP of

   territory moved into the Challenged Districts was 47.85%, and the average BVAP of territory

   moved out was 41.7%. PEX50 Table 8. According to the population data in the record, fewer

   black than non-black voters on average moved in to Challenged Districts: 7,947 to 8,639.



                                                     8
Case 3:14-cv-00852-REP-AWA-BMK Document 231 Filed 11/13/17 Page 11 of 54 PageID#
                                   8720



   Appendix A (census data listing taken from IEX33). The district-specific numbers show a

   random walk: more black voters than non-black voters were added in 6 districts; more black

   voters than non-black voters were added in 6. Id. BVAP increased in 6 district and decreased in

   6. IEX 15 at 13. That is the opposite of “stark.”

          Plaintiffs’ Flawed Analyses. Against that evidence, Dr. Rodden characterized his maps

   as showing “stark” racial differences in the movement of people, see, e.g., 2 Tr. 202:13, but his

   analysis takes into account neither racial demographics nor the movement of people. There are

   no numbers in his report, just dots, and “[y]ou have to have very good eyes to count up these

   dots. I think that would be difficult.” 2 Tr. 329:17–18. So his demographics views are nothing

   but describing maps based on his gut. And there is no assessment of population movement

   because Dr. Rodden does not distinguish pre-existing from new lines. E.g., PEX69 at 68–69.

   Besides, Dr. Rodden’s maps refute Plaintiffs’ allegations of surgical precision in line-drawing.

   The lines hardly correspond with demographic splits, and the purported “divide” is “generally

   gray” and muddled. 2 Tr. 234:20–25 (Judge Payne). Appendix B to this brief illustrates the

   substantial pockets of black dots excluded from the Challenged Districts in Plaintiffs’ cherry-

   picked examples, and most are on the borders and could easily have been included.

          Dr. Palmer’s numbers confirm this. As described in Intervenors’ opening brief (at 13–

   14), the VTD and locality splits he analyzed routinely place more black voters in majority-white

   districts than in the Challenged Districts. Altogether, the VTD splits exclude from Challenged

   Districts over 20,000 black voters residing just on their outskirts. PEX71 at 52–56. And Dr.

   Palmer’s locality-split analysis shows over 158,683 black voters placed in majority-white

   districts—enough black voters for more than four additional 55% BVAP districts. PEX71 at 59–




                                                       9
Case 3:14-cv-00852-REP-AWA-BMK Document 231 Filed 11/13/17 Page 12 of 54 PageID#
                                   8721



   60.4 Moreover, the BVAP of territory moved from non-challenged districts to Challenged

   Districts (including HD75) was under 50% in 14 of the 16 such shifts, placing more non-black

   voters than black voters in Challenged Districts each time. PEX71 at 60. The BVAP of areas

   moved from Challenged Districts to non-challenged districts was over 20% in 7 of 9 such shifts,

   shifting thousands of black voters out of the VRA districts. PEX71 at 61. Of the locality splits

   Dr. Rodden identified, over half (12 of 21) place territory of below 50% BVAP in Challenged

   Districts. PEX71 at 57–60. And of the VTD splits Dr. Palmer identified, 15 of 32 place territory

   of below 50% BVAP in Challenged Districts. PEX71 at 54–57.

            Dr. Palmer finds stark differences only because most splits place a higher BVAP in

   Challenged Districts than non-challenged districts. But this hides tepid differences. True, the

   VTD called “Palmer” places a higher BVAP territory in HD95 than in HD94, but the difference

   is 26.6% to 17.6%. PEX71 at 5. Dr. Palmer counts that as “stark,” along with minimal

   differences in Rives (41.2% to 38.4% and 29.4%), Courts Building (38.0% to 24.7%), Jefferson

   Park (52.7% to 52.2%), Forks-of-the-River (35.7% to 26.9%), Precinct 2-1 (37.1% to 13.2%),

   Davis (50.4% to 42.2%), Dorey (31.3% to 16.9%), Granby (35.7% to 24.8%), Reon (55.5% to

   41.3%), Denbigh (62.2% to 39.5%), and Reservoir (49.8% to 39.1% and 29.0%). PEX71 at 52–

   56. Dr. Palmer also neglects to mention that the largest VTD split of all involving 27,380

   people—nearly 20% of the individuals in his VTD-split analysis—places 6,692 black voters in

   majority-white HD79 and a mere 128 in majority-black HD89. PEX71 at 54. The average BVAP

   of split VTDs placed in the Challenged Districts is only 24% higher than the BVAP of territory

   placed in majority-white districts. Br. at 10.




   4
       A 55% BVAP district requires in the vicinity of 35,000 black voting-age individuals.

                                                    10
Case 3:14-cv-00852-REP-AWA-BMK Document 231 Filed 11/13/17 Page 13 of 54 PageID#
                                   8722



            Predictably, Plaintiffs can only identify three non-HD75 related VTD splits that may

   impact the 55% goal.5 Br. at 10–11. So, even by their calculus, 21 of 24 splits were for non-racial

   reasons. And even the final three splits are irrelevant, because the presumed impact depends on

   “[h]olding all else constant” when eliminating the split. PEX71 at 13. But nothing in redistricting

   is “constant”; un-splitting the VTDs would take the district out of population alignment, thereby

   spurring other changes that likely would result in a district at or above 55% BVAP.

            Dr. Palmer’s maps do not show stark racial differences because he manipulated the

   shading to show stark splits that do not exist. PEX71 at 31–41. He admitted that, without

   manipulating the color scale, typically “the darkest possible color won’t be used at all.” 2 Tr. at

   457:22–485:5. His justification that rigging the scale made the maps visually appealing, id., is no

   defense because the maps measure racial differences through dark shading, so rigging the

   shading to ensure the darkest color is used pre-ordains the result. And Dr. Palmer manipulated

   the coloring further insofar as he varied the size of the displayed area—the shading reflects

   BVAP percentages in the depicted area—thereby excluding nearby territory considered in the

   map-drawing process in tandem with the displayed area and allowing a showing of dark green

   that would not have appeared on the computer screen used in 2011. 2 Tr. 234:20–25. The maps

   say far more about Dr. Palmer’s motive in 2017 than the map-drawers’ motive in 2011.

            Plaintiffs’ VTD Arguments. In place of an honest, fact-sensitive and holistic analysis,

   Plaintiffs advocate a per se rule that all split VTDs in majority-minority districts are racial. Br. at

   12. The argument takes governing precedent completely out of context.

            First, both Bush v. Vera, 517 U.S. 952, 956–72 (1996), and Alabama, 135 S. Ct. at 1271,

   Plaintiffs’ purported authority for their position, involved multiple split VTDs between



   5
       As discussed below, splits between HD63 and HD75 are narrowly tailored. See infra § I.C.
                                                     11
Case 3:14-cv-00852-REP-AWA-BMK Document 231 Filed 11/13/17 Page 14 of 54 PageID#
                                   8723



   contiguous districts that were “perfectly tailored to maximize minority population.” 517 U.S. at

   971; see also Alabama, 135 S. Ct. at 1271 (“[T]he drafters split seven precincts between the

   majority-black District 26 and the majority-white District 25, with the population in those

   precincts clearly divided on racial lines.”). In contrast, the VTDs splits here generally bear the

   hallmarks of a population-equalization effort. Dr. Palmer testified that “[s]plitting VTDs to

   equalize population is very common.” 2 Tr. 381:14–363:11. John Morgan and Dr. Hofeller

   agreed. 2 Tr. 602:12–20; 2 Tr. 939:22–940:7. Most of the VTD splits at issue involve a single

   split (occasionally two) between contiguous districts and do not suggest atypical maneuvering.

   Mr. Morgan, who split the VTDs, discussed the exceptions at length. See infra § I.C.

          Plaintiffs misread Alabama in arguing that the Court must ascribe racial motive to these

   splits and other moves to equalize population. Alabama did not hold that all equalization efforts

   are racial. The same decisions are made in majority-white districts. Alabama rather focused on

   “which voters the legislature decides to choose,” 135 S. Ct. at 1271, and the voters in the split

   VTDs here were assigned to districts on a non-racial basis: by the shapes and sizes of census

   blocks. Because even a single census block can take a district out of population alignment, 2 Tr.

   965:13–24 (Rodden), Mr. Morgan had to scan the district boundaries for census blocks that were

   correctly sized to bring the districts on each side of the split within the highly restrictive +/- 1%

   range, 2 Tr. 601:25–641:1. For example, the census block sizes on the north side of HD95

   prevented Mr. Morgan from taking that top edge directly north, so he brought it west where the

   block sizes provided the correct numbers. 2 Tr. 639:19–640:23. The “census geography,” not

   race, explains “which voters” were moved and where. And some splits were drawn based on Mr.

   Morgan’s view of what line made aesthetic sense, e.g., 2 Tr. 628:6–19, and some were drawn

   along roads or geographic lines, e.g., 2 Tr. 665:15–22. Those are not racial considerations.



                                                     12
Case 3:14-cv-00852-REP-AWA-BMK Document 231 Filed 11/13/17 Page 15 of 54 PageID#
                                   8724



          In fact, Mr. Morgan “really didn’t take race into account in splitting VTDs,” 2 Tr. 715:1–

   2, and did not use his redistricting software’s “racial thematic for the census blocks” in splitting

   any VTDs, 2 Tr. 668:11–20. Plaintiffs ask the Court to disbelieve this, but they do not and

   cannot rebut it with evidence. There is no competing fact-witness testimony, and the expert

   testimony supports Mr. Morgan, both in confirming that “[s]plitting VTDs to equalize population

   is very common” and in demonstrating through numbers and maps that the alleged racial sorting

   at the census-block level was muted at best. Moreover, the maps cannot impeach Mr. Morgan

   because they do not test his explanation. Dr. Rodden’s maps do not include census blocks, do not

   identify which dots are bound to which other dots, and do not provide population numbers to test

   whether race or block sizes better explain the placement of voters. 2 Tr 637:11–64:23. Nor do

   dots on Dr. Rodden’s map demonstrate where any voter lives; they are placed randomly within

   the invisible census blocks. 2 Tr. 638:7–13. Dr. Palmer’s maps include some blocks, but no

   numbers or surrounding blocks. PEX71 at 31–41. Mr. Morgan’s testimony stands unrebutted.

          Second, Mr. Morgan and Dr. Rodden testified that VTD splits occur only after the

   districts at issue are “relatively close to 80,000” people. 2 Tr. 381:14–363:11 (Rodden). Many

   were made in amendments to the originally proposed plan to adjust population for changes

   introduced at the very end, 2 Tr. 667:17–668:11. By this time the Challenged Districts were over

   55% BVAP, and “most of the major decisions” had been made. 2 Tr. 631:18–21. The splits

   therefore have minimal probative value in assessing the predominant motive. In fact, the splits

   were so unimportant that neither Delegate Jones nor any other legislator was involved with them

   (with one or two exceptions). 2 Tr. 629:17–22 (Morgan); 2 Tr. 473:15–24 (Jones).

          Again, Plaintiffs’ contention that VTD splits simply must matter because they mattered in

   Bush and Alabama is not a “holistic” or fact-specific view. In Bush, the splits mattered because



                                                    13
Case 3:14-cv-00852-REP-AWA-BMK Document 231 Filed 11/13/17 Page 16 of 54 PageID#
                                   8725



   they composed bizarre, racially tailored “segments” of districts and so were indicative of careful

   attention—and no testimony suggested otherwise. 517 U.S. 965–72. In Alabama, seven VTDs

   were split between the same two districts, indicating substantial care. 135 S. Ct. at 1271. The

   record here shows that the VTD splits, with a few exceptions, were an afterthought.

          Third, the Supreme Court in Bush found that the VTD split created district segments that

   were “far from the shape that would be necessary to maximize the Democratic vote in the area.”

   517 U.S. at 971. It did not assume, as Plaintiffs would have it, the absence of political motive.

   Here, HD95, the Challenged District with the most splits, was configured to maximize political

   concerns, the district was well over 55% BVAP, and it is “not actually in dispute between the

   parties” that HD95 can be drawn “in a number of different ways” above 55% BVAP, meaning

   race did not dictate the configuration. 2 Tr. 685:4–8 (Hamilton); 2 Tr. 686:7–18 (Morgan).

   Political motive is further relevant here because of testimony from all sides that political data

   was available at the block level, and that it factored into the political performance numbers the

   House actually used.6 2 Tr. 957:6–12; 964:19–22 (Rodden); 2 Tr. 623:15–18 (Morgan). Plaintiffs

   respond that these numbers are not as accurate as racial data, 2 Tr. 958:9–12, but the

   predominance analysis measures subjective motive, not data accuracy. The data here is relevant

   to motive, even though it was not in Bush or Alabama.

                  3.      The 55% BVAP Target Was a Minor Constraint

          Another relevant consideration is how the selected minority-percentage target compares

   with local demographics. A high target percentage as compared with minority population would

   suggest a high degree of racial attention; a comparable percentage would suggest a low degree.



   6
    Plaintiffs correctly emphasize that Bush v. Vera was decided “[m]ore than twenty years ago,”
   Br. at 12, at which time popular computer games were Pong, Minesweeper, and Super Mario
   All-Stars. The Court can take judicial notice that technology has progressed since then.
                                                    14
Case 3:14-cv-00852-REP-AWA-BMK Document 231 Filed 11/13/17 Page 17 of 54 PageID#
                                   8726



   The targets in Alabama were at or above 70% BVAP. 135 S. Ct. at 1263. The target here was

   55% BVAP, BVAP was already near or above—often substantially above—that level in 10 of

   the 11 Challenged Districts, and a large number of black voters resided in the relevant areas.

          As the Solicitor General observed on appeal, “if local demographics are such that any

   reasonably compact district that respects political boundaries and other relevant districting

   principles will exceed a racial target, then race will not predominate because the actual lines will

   be determined by non-racial considerations.” U.S. Br. at 13. That is the case here, where Dr.

   Rodden agreed that, “in most instances,” there were “other ways to get” to 55% BVAP.

   2 Tr. 162:24–163 (emphasis added). Mr. Morgan testified to this as well. 2 Tr. 686:7–17. The

   numbers confirm that tens of thousands of black voters, enough for multiple new 55% BVAP

   districts, resided next to the Challenged Districts in the same cities and counties. See Supra B.2.

          Dr. Rodden, however, asks the Court to cast reason and facts aside in favor of blind

   superstition, urging that “if it’s possible to achieve 55 percent without” the selected configuration

   then “that’s stronger evidence of racial predominance” because the legislature “did it anyway.” 2

   Tr. 352:20–23. But “anyway” connotes non-racial reasons. After all, the House is accused of

   achieving a 55% BVAP target, not some other racial goal, by “paying extremely careful attention

   to the race of each voting tabulation district (“VTD”) and census block under consideration.”

   PEX69 at 3. But that inference does not follow where the 55% target did not meaningfully

   constrain the legislature. Dr. Rodden’s contrary “method” conveniently makes every conceivable

   redistricting move proof of racial motive:

      If a configuration was, in his view, necessary to achieve 55% BVAP, race predominated. Tr.
       162:5-6; 163:1-4; 176:15-17; 177:6-10, 177:23-178:25; 178:12-19; 182:10-16; 185:19-25;
       214:3-9; 217:19-23; 222:8-11; 228:14-25; 231:10-17; 232:18-21; 234:7-12; 238:8-12; 265:3-
       9; 267:3-24; 269:2-9; 271:1-3; 274:3-8; see also PEX69 at 11; 13; 16; 23; 27; 32; 37; 39; 40;
       45; 46; 48; 51; 52; 61; 64; 65; 66; 69; 71.



                                                    15
Case 3:14-cv-00852-REP-AWA-BMK Document 231 Filed 11/13/17 Page 18 of 54 PageID#
                                   8727



      If a configuration was, in his view, not necessary to achieve 55% BVAP, race predominated.
       Tr. 162:5-6; 163:1-4; 184:15-18; 202:13-20; 206:21-25; 214:18-21; 215:20-25; 226:6-12;
       239:19-24; 275:10-15; see also PEX 69 at 21; 40.

      If a configuration moved black voters into a Challenged District, race predominated. Tr.
       174:13-17; 175:1-5, 20-15; 182:20-23; 183:6-9; 191:5-8; 192:1-8; 198:3-7; 11-18; 226:17-
       19; 231:18-23; 242:6-13; 246:1-11; 247:10-13; 248:23-249:2; 253:16-21; see also PEX 69 at
       11; 15; 16; 24; 26; 29; 31; 36; 41; 44; 46; 48; 52; 55; 56; 62; 66; 70.

      If a configuration moved black voters out of a Challenged District, race predominated. Tr.
       182:20-23; 199:14-17; see also PEX 69 at 29; 55; 59-60; 62; 70.

      If a configuration kept black voters in a Challenged District, race predominated. Tr. 190:15-
       22; 205:13-16; 223:20-23; 227:9-11; 244:5-13; 245:10-14; 245:22-23; 252:17-20; 262:24-
       263:5; see also PEX 69 at 32; 52; 67; 70.

      If a configuration kept black voters in a non-challenged district, race predominated. Tr.
       204:13-20; 213:10-15; 215:13-15; 219:13-18; 250:3-5; see also PEX 69 at 35; 49-51.

   In Dr. Rodden’s analysis, no decision touching or concerning the Commonwealth’s black

   residents was available that would not condemn the resulting district. The Court can safely

   ignore that view.7

          Contrary to Dr. Rodden’s assertions, 55% BVAP was not a bridge too far. This is not a

   case like the max-black gerrymandering cases in the 1990s, where legislatures created new

   majority-minority districts wherever remotely conceivable, see Miller v. Johnson, 515 U.S. 900,

   907, 917 (1995); nor is it like Alabama, where the legislature insisted on cartoonish BVAP levels

   in the 70% range, 135 S. Ct. at 1273; nor is it like Covington v. North Carolina, 316 F.R.D. 117

   (M.D.N.C. 2016), where the collective legislative chambers saw an increase from 9 to 27

   majority-black districts, id. at 125–128. Here, there were 12 majority-black districts in the 1991

   House Plan, 12 majority-black districts in the 2001 House Plan, and 12 majority-black districts in

   the 2011 House Plan. BVAP as of 2009 ranged from 46.3% to 62.7%; it ranged in the enacted


   7
     Dr. Rodden does not attribute a single district line to non-racial considerations, an impossible
   conclusion given that Plaintiffs concede “all sorts of local considerations” went “into drawing
   these districts.” 1 Tr. 832:14–18 (Hamilton).
                                                    16
Case 3:14-cv-00852-REP-AWA-BMK Document 231 Filed 11/13/17 Page 19 of 54 PageID#
                                   8728



   plan from 55.1% to 60.1%. IEX15 at 143. The average BVAP went from 57.1% to 57.2%. Id. If

   that is suspect, then redistricting under the VRA is always suspect. See infra § III.

                  4.      The BVAP Target Was One Factor Among Many and Had a
                          Qualitatively Minor Role in District Configuration

          Another relevant consideration is whether race was the sole “criterion that, in the State’s

   view, could not be comprised” and whether other considerations “came into play only after the

   race-based decision had been made.” Shaw v. Hunt, 517 U.S. 899, 907 (1996) (Shaw II). If non-

   racial factors “had a qualitatively greater influence on the drawing of district lines,” Bush, 517

   U.S. at 1956, or, in the Solicitor General’s words, “if a racial target is but one factor in the

   drawing of district boundaries and the legislature also places substantial weight on non-racial

   factors,” then “race will not predominate because it will not be the ‘dominant and controlling’

   rational for the district’s lines.” U.S. Br. at 13 (quoting Miller, 515 U.S. at 913).

          Here, both the ordering of concerns and the substantial weight on non-racial factors

   disproves racial predominance. Mr. Morgan testified that, in the course of drawing district lines,

   he did not monitor the racial data; analysis of VRA compliance was done later by others. 2 Tr.

   727:22–728:9. This was not a case where “other considerations came into play” only after the

   districts were drawn at 55% BVAP; they were in play from the beginning, and race was

   evaluated at the end. Moreover, the 55% goal was not the one criterion that could not be

   compromised; there were many. One, for instance, was a policy that crossing the “James River

   tidal estuary” was “not going to happen,” and Mr. Morgan’s proposal contradicting that policy

   “wasn’t considered.” 2 Tr. 650:2–651:7 (Morgan). There was also a bar on districts with

   compactness scores below those approved by the Virginia Supreme Court, non-contiguous

   districts, and multi-member districts. 2 Tr. 596:1–598:19 (Morgan). And multiple district-

   specific criteria were also non-negotiable. It was, for example, mandatory that the New Hope


                                                     17
Case 3:14-cv-00852-REP-AWA-BMK Document 231 Filed 11/13/17 Page 20 of 54 PageID#
                                   8729



   VTD be drawn in HD63 because of Delegate Dance’s concern for keeping a constituent named

   Alvin Blaha, 2 Tr. 121:17–122:4, so a contrary proposal “was rejected.” 2 Tr. 713:11–714:7. It

   was also non-negotiable that certain incumbents not be paired, e.g., 2 Tr. 699:3–14, and that

   certain incumbents be paired, 2 Tr. 758:3–13.

          Moreover, neutral considerations had a qualitatively greater role in district configurations

   than did the 55% goal, as Delegate Jones and Mr. Morgan testified to at length, and Dr. Palmer’s

   statistical analyses confirm. He provides several statistical models predicting the likelihood of

   VTD placement in or out of the Challenged Districts both by race and by partisanship. PEX71 at

   6–7, 20–24. With one exception, the analyses fail to meaningfully compare race with traditional

   criteria.8 Backus v. South Carolina, 857 F. Supp. 2d 553, 565 (D.S.C. 2012). And the one

   exception disproves Dr. Palmer’s conclusions. Core retention, the one traditional criterion he

   measured, far and away predominates over race:

          Q: So if I had to make a bet about whether a VTD would be included in a
          challenged district and I was only allowed one piece of information from your
          chart in Table 20, the piece of information I should choose is whether the VTD
          was in the benchmark version of the district, correct?

          A: Yes.

   2 Tr. 448:25–449:15; 2 Tr. 791:12–23 (Katz). Core retention is a neutral principle that may

   disprove predominance.9 See, e.g., Comm. for a Fair & Balanced Map v. Illinois State Bd. of

   Elections, 835 F. Supp. 2d 563, 590 (N.D. Ill. 2011). Delegate Jones testified that the most

   important consideration was retaining continuity. 2 Tr. 517:7–8; see also 2 Tr. 695:6–9




   8
     The analyses on pages 6 and 7 of Dr. Palmer’s report do not overcome the problem identified in
   Backus that traditional criteria are not accounted for, because they also do not account for
   traditional criteria. The comparison is black versus white, which does not include other factors.
   9
    Race was found not to predominate in the Challenged Districts in 2002, Wilkins v. West, 264
   Va. 447(2002), so a claim that preserving cores preserved discrimination is untenable.
                                                    18
Case 3:14-cv-00852-REP-AWA-BMK Document 231 Filed 11/13/17 Page 21 of 54 PageID#
                                   8730



   (Morgan). And Dr. Palmer’s analysis proves that this desire had a qualitatively greater impact on

   the district lines than did race. Race was not “dominant and controlling.” Miller, 515 U.S. at 913.

          C.      District-Specific Evidence

          HD63. The Court is tasked with reviewing only a small portion of HD63. Its western

   border was preserved from the benchmark and follows the county line. 2 Tr. 886:1–87:14.

   Plaintiffs presented no evidence on the northern lines between HD63 and HD66, which also

   remain unchanged. IEX94 at 1. Plaintiffs argue that the line between HD63 and HD75 condemn

   HD63, 2 Tr. 984:2–8, but they concede that the line, including its VTD splits, was necessary to

   keep HD75—not HD63—above 55%. Br. at 10. Creating HD75 at 55% BVAP was lawful, so

   the Court cannot strike down HD63 based on what was needed in HD75—or else narrowly

   tailored districts would always result in unconstitutional contiguous districts.

          The only new territory is HD63’s eastern extension. The change appears meaningful, but

   looks are deceiving; HD63 retains 86.59% of its core, well above the House average. IEX14

   Table 11. And neutral factors had a qualitatively greater impact than race in the eastern

   extension. Mr. Morgan testified that HD63 could have been drawn in a variety of ways,

   including without Hopewell, 2 Tr. 712:9–713:1, which stands to reason given how far HD63

   began and ended above 55%. The difficulty occupying the map-drawers’ attention was, not race,

   but geographic stress from both directions, given that HD63 lies on “the junction between

   Tidewater and Richmond.” 2 Tr. 709:7–20. As various configurations of surrounding districts in

   both regions were bandied about, HD63’s extension “shifted a lot.” Id. The Republican

   Delegates in neighboring districts, especially HD62, were concerned about changes in their

   districts and hesitant to pick up more new territory between Petersburg and Hopewell. 2 Tr.

   709:21–713:14. Additionally, a James River estuary crossing was eliminated creating new



                                                    19
Case 3:14-cv-00852-REP-AWA-BMK Document 231 Filed 11/13/17 Page 22 of 54 PageID#
                                   8731



   territory for districts on the western bank, which had not previously been in any district there,

   and Delegate Dance was “willing” to take it. 2 Tr. 711:20–712:1; 2 Tr. 122:23–123:3. There was

   “no racial motivation” for this. 2 Tr. 481:10–11. Nor was there racial motivation for retaining

   New Hope, thereby creating the “hook” between HD75 and HD63; this was to honor Delegate

   Dance’s request to retain a constituent named Alvin Blaha. 2 Tr. 121:23–122:22; 2 Tr. 495:3–14.

          Plaintiffs’ evidence, per Dr. Rodden, is irrelevant. His speculation that the river crossing

   should not have been “viewed as a problem,” PEX69 at 39, substitutes his own ignorance of

   motive for the House’s policy; it was viewed as a problem, and that is what counts. 1 Tr. 316:10–

   317:9. And the reason is plausible: the crossing was the object of scorn, including in prior

   litigation, and the Hopewell community had little in common with the swamp land on the other

   side of a large estuary. 2 Tr. 480:9–481:11. Dr. Rodden criticizes the method of splitting

   Hopewell, 2 Tr. 218:3–219:6, but that line already existed; it was simply moved from HD74 to

   HD63, 2 Tr. 711:23–712:1. And Plaintiffs’ argument on VTD splits ignores that non-HD75

   related splits place more black voters in majority-white districts than in HD63. PEX71 at 52.

          HD74. The overriding core-preservation purpose is also self-evident in the configuration

   of HD74, which has retained its basic shape since 1991, IEX14 Map 20; 2 Tr. 695:6–9, and kept

   nearly 80% of its core, IEX14 Table 11. The principal change was the removal of Hopewell,

   which was just as race-neutral in HD74 as in HD63. Conceding that more white than black

   voters were moved into HD74, see Appendix A, Dr. Rodden classifies HD74 as a “donor”

   district, 2 Tr. 199:14–17, but, other than HD63, the only Challenged District it “donated” to was

   HD71, and it exchanged with HD71 territory of 85.5% BVAP (out) for 86.3% BVAP (in).

   PEX71 at 43. It also obtained territory from HD70 of 52.7% BVAP, with no return territory, id.

   Neither a “donor” nor “recipient” narrative fits; non-racial factors predominated.



                                                    20
Case 3:14-cv-00852-REP-AWA-BMK Document 231 Filed 11/13/17 Page 23 of 54 PageID#
                                   8732



          Plaintiffs present no other evidence except VTD splits between HD74 and HD72,

   involving about 3% of the two districts’ total population, PEX71 at 53, but Mr. Morgan testified

   that his intent in the splits was following a water boundary between HD72 and 74, allowing the

   transfer of a Republican-performing precinct into HD72, and improving HD72’s compactness

   score, which was sufficiently low that Delegate Jones took notice. 2 Tr. 696:7–697:16. Dr.

   Rodden’s dot maps show black population on the border of HD74 that could have been drawn in,

   but neutral principles had a qualitatively greater impact. PEX69 at 31, 33.

          HD71. HD71 retains 78.31% of its core, IEX 15 Table 11, above the average for the

   majority-minority districts (72.76%) and well above the statewide average (67.09%). IEX14

   Table 12. That was remarkable given HD71’s negative deviation of 7.3%, or nearly 6,000

   people. IEX15 Table 8. HD71 became more compact, IEX15 Tables 5, 7, and 9, and was at the

   mean compactness score for all districts statewide, IEX14 Table 4. BVAP in HD71 was nearly

   identical to BVAP percentages in the past precleared plans (55.3% in 2011, 55.5% in 2001, and

   55.4% in 1991). BVAP had diminished over the decade, and the move back to 55% maintained

   the status quo from prior decades. 2 Tr. 698:13–25.

          Plaintiffs claim that “the obvious way of achieving population equality” in HD71 was a

   move westward, Br. 31, but there is nothing obvious about going west as opposed to east. In fact,

   contiguous districts to the west were all heavily underpopulated (-6.9% in HD73; -8.6% in

   HD68; -10.9% in HD69), and HD70 and HD74 to the east were at equality and adjacent to over-

   populated areas. IEX91 at 141; IEX37 at 1. So the “obvious” move was east.

          Plaintiffs’ fact witness, then-Delegate (now Senator) McClellan did not testify that race

   predominated in the new district. She testified at both trials that the concerns about the

   Richmond districts that she communicated to Delegate Jones were addressed and resolved. 2 Tr.



                                                    21
Case 3:14-cv-00852-REP-AWA-BMK Document 231 Filed 11/13/17 Page 24 of 54 PageID#
                                   8733



   59:24–60:6 (splits in VTD 707 and Churchill neighborhood fixed after conference with Jones); 2

   Tr. 60:7–18 (split VTD 208 fixed after conference with Jones). And the concerns Delegate

   McClellan did not express to Delegate Jones were not resolved. 2 Tr. 54:15-17; 63:22–64:1

   (McClellan failing to mention her belief that 55% BVAP was unnecessary for her future electoral

   success); 2 Tr. 59:11–14 (McClellan failing to recommend that VTD 505 be un-split). The

   testimony proves that Delegate Jones is not omniscient—and not much else.

          In fact, the bulk of changes to HD71 were recommended by Delegate McClellan and the

   Richmond delegation because they made sense in terms of uniting communities of interest and

   avoiding incumbent pairings. 2 Tr. 42:1–12 (the split contours in VTD 505 were recommended

   by Delegates McClellan and Carr); 2 Tr. 56:3–16 (uniting VTD 603 and 604, and splitting VTD

   703, united areas of similar demographics and respected natural boundaries); 2 Tr. 57:13–15

   (lines drawn to avoid neighboring incumbents). Neutral concerns were not “cast aside.” Bethune-

   Hill, 137 S. Ct. at 799. Plaintiffs again rest their case on the split “Fan” neighborhood, but it was

   split three ways both before and after redistricting. 2 Tr. 61:25–62:5. The Court previously found

   the swap of VTDs 204 and 207 was not “obviously racial,” an obvious conclusion when the

   VTDs are demographically similar and are overwhelmingly white. 141 F. Supp. 3d at 563.

   Delegate McClellan never asked Delegate Jones that VTD 207 be included in her district,

   leaving no basis to infer bad intent on Jones’s part. The Court previously held that swap was to

   honor a request by Delegate Loupassi, id. at 563, and the record on that remains unchanged.

          HD69. Core retention had a qualitatively unmatched impact on HD69, as over 83% of

   residents were retained. IEX14 Table 11. By contrast, BVAP of territory moved in and out was

   practically the same, PEX50 Table 8, and BVAP dropped slightly from the benchmark, IEX15 at

   13. The predominant change involved bringing HD69 up to the James River bank, a non-racial



                                                    22
Case 3:14-cv-00852-REP-AWA-BMK Document 231 Filed 11/13/17 Page 25 of 54 PageID#
                                   8734



   geographic boundary. 2 Tr. 7032–14. The district became more compact as compared to the

   benchmark. IEX15 at 14.

          Dr. Rodden speculates that the “most rational” ways HD69 could have been drawn would

   “have involved adding whites,” PEX69 at 13, but the way it was drawn did add whites,

   Appendix A, and Dr. Rodden has no method to identify what would have been “most rational,”

   what demographic numerical differences would have resulted, or what was not rational about

   how HD69 was drawn; his discussion is color-commentary suggesting only that the district could

   have been different. PEX69 at 25–27. Plaintiffs also complain about VTD splits, but HD69 splits

   only three VTDs between three different adjacent districts, PEX71 at 53, 56, supporting Mr.

   Morgan’s testimony that the purpose was population equalization and maintaining contiguity in

   HD68, 2 Tr. 705:17–706:3. Census geography, not race, predominated in the splits. Id.

          HD70. Core retention predominantly explains HD70, which retains 2 of 3 residents.

   IEX14 Table 11. The changes in the district resulted from the ripple effect due to population

   deficiencies in Richmond and population excess in Chesterfield County. In order to absorb that

   effect, maximize compactness, and ensure contiguity, the plan brought Chesterfield’s excess

   population into the Richmond districts through HD70, thereby passing its population off to the

   most central districts to maintain compact districts and district cores. 2 Tr. 690:18–691:16;

   706:4–24. Plaintiffs respond that the House could have brought HD69 into Chesterfield County

   to do this, 2 Tr. 738:3–17, but the post hoc possibility of alternative configurations does not

   render the existing configuration is racial. Bringing HD69 sough into Chesterfield County would

   have cut the district off from its incumbent, who resided North of the James River. IEX94 at 2.

   And HD69 was severely underpopulated, so channeling excess population to the South through it

   would wreak havoc on its core. IEX15 at 13. Indeed, Dr. Rodden opines that bringing VTDs



                                                    23
Case 3:14-cv-00852-REP-AWA-BMK Document 231 Filed 11/13/17 Page 26 of 54 PageID#
                                   8735



   Meadowbrook, Southside, and Chippenham into HD70 was racially motivated, PEX69 at 29, so

   Plaintiffs would no doubt have claimed their inclusion in HD69 as racially motivated.10

             Faced with the inconvenient fact that more white than black voters were brought into

   HD70, Dr. Rodden applies his damned-if-you-do-damned-if-you-don’t donor theory, PEX69 at

   29, but the facts do not bear that out either—or else, why was the territory of nearly identical

   BVAP swapped between HD69 and HD70? PEX71 at 43. Race was a factor, but it cannot

   predominantly explain the movement of people.

             HD80. The visual changes in HD80 are misleading, as the district preserved 2 of 3

   residents. IEX14 Table 11. The changes that occurred were predominantly the result of the

   district being in a position to obtain the leftovers from an ambitious incumbency-protection

   effort in HD79. 2 Tr. 648:2–649:14. The plan placed the Norfolk Naval Base, previously in

   HD100, into HD79 to give Delegate Johnny Joannou—whose future prospects were viewed as

   fragile because being a conservative southern Democrat was increasingly behind the times—

   population that was largely non-voting. 2 Tr. 648:2–10. This was viewed as enhancing the voting

   power of Delegate Joannou’s base of support in Portsmouth. 2 Tr. 647:7–23. Ultimately, the

   changing political trends were too much, and Delegate Joannou lost, but the predominance test

   concerns subjective motive, not outcome, and political motive predominated. 2 Tr. 656:8–16.

             Dr. Rodden opines on credibility by reference to a purported 2009 primary where

   Joannou supposedly succeeded in the precincts shed to HD80. 2 Tr. 961:9–962:18. But there was

   no 2009 primary in HD79. See Va. Dep’t of Elections, Elections Database.11 And Dr. Rodden’s


   10
     Delegate McQuinn testified that she was concerned about the new footprint in Chesterfield,
   but she did not testify that the purpose was racial. 2 Tr. 103:9–12. Any Richmond Delegate
   might prefer not to increase territory in another locality, but that had to occur somewhere
   because Richmond was under-populated, and Chesterfield was over-populated. IEX62.
   11
        Available at http://historical.elections.virginia.gov/.
                                                        24
Case 3:14-cv-00852-REP-AWA-BMK Document 231 Filed 11/13/17 Page 27 of 54 PageID#
                                   8736



   opinions (with no numbers) do not comport with the 2007 primary results, such as his statement

   that Delegate Joannou won a “comfortable majority” in Taylor Road, 2 Tr. 961:21–25, when he

   succeeded there by only 9 votes. Delegate Joannou’s opponent also won a comfortable majority

   in Harbor View, which was among the dropped VTDs. Moreover, the numbers from 2015

   confirm that, as Mr. Morgan predicted, the vast majority of votes in HD79 came from

   Portsmouth, not Norfolk. HD79 performed as Mr. Morgan expected, and saving Joannou simply

   was not possible.

          Indeed, the Court already held that political considerations predominated in HD80, 141 F.

   Supp. 3d at 567, and the evidence bears that out. At one point, Mr. Morgan proposed that the

   “tail” of HD79—the exact configuration it held before in a majority-white district—be drawn

   into a district across the James estuary, but the crossing was untenable and “wasn’t considered.”

   2 Tr. 650:2–651:12. It could in theory have been drawn into HD76, but Delegate Jones, its

   representative, did not want heavily Democratic precincts, and drawing HD80 west as a whole

   would have removed the core of Delegate Jones’s political support. 2 Tr. 553:2–554:3.

   Meanwhile, Dr. Rodden’s maps show large segments of black population in HD79, meaning

   HD80 could have been drawn over 55% BVAP in any number of ways, PEX69 at 53, and nearly

   an identical number of black and non-black voters were moved in, Appendix A. The one split

   VTD between HD80 and HD79 places 2,752 black voters in HD79 and only 402 in HD80.

   PEX71 at 54. Finally, Plaintiffs’ fact witness on HD80, Delegate James, testified that the district

   was not drawn with racially discriminatory intent. 2 Tr. 78:12–15. Race had a minor role.

          HD77. HD77 retained over 3 of 4 residents, IEX14 Table 11, and its geographic

   footprint, IEX94 at 8; 2 Tr. 658:2–10. The BVAP of territory moved in was majority white,

   PEX50 Table 8, and nearly twice as many white voters were moved in than black voters,



                                                   25
Case 3:14-cv-00852-REP-AWA-BMK Document 231 Filed 11/13/17 Page 28 of 54 PageID#
                                   8737



   Appendix A. The predominant movement involved a series of precinct additions on the eastern

   border that were overwhelmingly white, PEX71 at 44, which Delegate Spruill requested to help

   reunite the Old City of South Norfolk, 1 Tr. 334:2–12. Dr. Rodden opines on “racial motivation,”

   PEX69 at 66, by reference to minor changes he claims were needed to maintain a 57.6% BVAP

   district over 55%. But even if his baseless guesswork were valid, the moves he describes did not

   have a qualitatively greater impact on district lines than the core-retention and community-of-

   interest purposes. PEX69 at 62–69. He also inveighs against a water crossing, PEX69 at 65, with

   no evidence that anyone was concerned about this in 2011. And his criticism of the split JFK

   VTD ignores that the VTD was oddly shaped and split in the benchmark plan to improve

   compactness. See IEX92 at 8. A second VTD was split between HD77 and HD76 to maintain

   continuity in the JFK split, and Mr. Morgan simply picked enough correctly sized census blocks

   to reach equality and stopped, 2 Tr. 770:15–771:6, which Dr. Rodden’s map shows, PEX69 at 68

   (line stops short of black dots) and Dr. Palmer’s numbers confirm, PEX71 at 54 (split places 911

   black voters in non-challenged HD76 and only 603 in HD77).

          HD90. HD90 retained nearly 3 of 4 residents, IEX14 Table 11, and became more

   compact, IEX15 at 14. BVAP of territory moved in and out were practically the same, PEX50

   Table 8, BVAP remained practically the same, IEX15 at 13, and more than 2,000 more non-

   black voters than black voters were added, Appendix A. Other than core retention, the

   predominant purpose of the redraw was increasing the district’s footprint in Norfolk and Virginia

   Beach and decreasing it in Chesapeake, which was accomplished in the transfer Delegate Spruill

   suggested to HD77. 2 Tr. 660:10–17. Moreover, VTDs added from Virginia Beach were part of a

   chain of movements to improve Republican performance two districts away. 2 Tr. 660:23–662:6.

   The Barron Black VTD came out to help political performance in neighboring HD83. 2 Tr.



                                                   26
Case 3:14-cv-00852-REP-AWA-BMK Document 231 Filed 11/13/17 Page 29 of 54 PageID#
                                   8738



   662:5–15. HD90 splits two VTDs with HD85, but this anomaly was for neutral reasons: the first

   VTD split was accomplished in the initial proposed plan along Witchduck Road, a major

   thoroughfare, and, when minor amendments brought the district out of population alignment,

   another VTD (with appropriately sized and placed blocks) was selected, rather than moving the

   first line from Witchduck Road. 2 Tr. 665:7–667:16. Dr. Rodden waxes at length about

   presumed racial intent, but even his maps show large pockets of black voters not included,

   including in Aragona (792 black voters in HD85 to 788 in HD90, PEX71 at 54). PEX69 at 59.

   Plaintiffs’ fact witness, former Delegate Howell, testified that he was not pleased with his

   district, but he was confused about its boundaries, and he neither suggested the existence of

   racial intent nor had foundation to do so. 2 Tr. 82:10–11; 84:6–85:7.

          HD89. HD89 retained over 82% of its core. IEX14 Table 11. BVAP of territory moved in

   and out was nearly the same. PEX50 Table 8. BVAP of territory moved from non-challenged

   districts to HD89 was below 50% in each shift (10% from HD100, 18.6% from HD79 and 49.2%

   from HD87), and HD89 involved the largest VTD split in the entire plan, involving 25,000

   people, which placed 52 times the number of black voters in non-challenged HD79 as in HD89.

   PEX570 at 54. The other VTDs split between HD89 and non-challenged districts collectively

   placed 2,979 black voters in non-challenged districts and 1,938 black voters in HD89. Id. The

   notion that racial predominance is afoot here is absurd.

          But with Dr. Rodden, where there’s a will, there’s a way. His narration of the district

   lines ignores the large pockets of excluded black voters (seen in his maps and in the raw

   numbers) and myopically focuses on a single VTD split in Granby—ignoring the other VTD

   splits that spoil his narrative. PEX69 at 56–57. Mr. Morgan testified that the shape was a result

   of an oddly shaped census block on the north side of Granby that “is like a hat” and, though



                                                   27
Case 3:14-cv-00852-REP-AWA-BMK Document 231 Filed 11/13/17 Page 30 of 54 PageID#
                                   8739



   oddly shaped, had the right number of voters, and “I basically took in the additional census

   blocks below that hat to even it out” and stopped once the population deviation was rectified. 2

   Tr. 670:18–671:22. The map shows that Mr. Morgan stopped short of easily accessible black

   voters, PEX69 at 58, and the numbers confirm that race was irrelevant: BVAP of the territory

   landing in HD89 was 35.7%; BVAP of the territory landing in HD100 was 24.8%. PEX71 at 54.

           HD92. HD92 retained 86.70% of its core, PEX14 Table 11, and became more compact,

   PEX15 at 14. Fewer black voters were moved in than non-black, and about the same number of

   black and non-black voters were moved out. Appendix A. BVAP shifted only slightly (62.1% to

   60.7%) and remained well above 55%. IEX15 at 13. The territory that shifted from HD92 to non-

   challenged HD91 was nearly 50% BVAP, and HD92 swapped territory of nearly identical BVAP

   with HD95. PEX71 at 45. Territory on the western border was brought in to bring HD92 up to

   the line between Hampton and Newport News, 2 Tr. 680:13–22, HD92 splits no VTDs, and

   HD92 otherwise remains unchanged from the benchmark. Dr. Rodden complains that a strip of

   coastal territory was not added to HD92, but adding that would not have brought BVAP below

   55%, 2 Tr. 687:3–688:11, indicating it was not omitted for racial reasons. The BVAP target had

   practically no effect on this district.

           HD95. Notwithstanding that HD95 assumed an odd shape, its core retention was high:

   73.31%. IEX14 Table 11. The territory of BVAP moved in was slightly higher than that of

   territory moved out, PEX50 Table 8, and approximately 1,000 more non-black voters were

   moved in than black voters, Appendix A. Dr. Rodden conceded that “there were many different

   ways to achieve the 55 percent target,” 2 Tr. 244:5–13, Mr. Morgan confirmed this, 2 Tr. 686:4–

   19, and Plaintiffs’ counsel stipulated to it, 2 Tr. 685:4–8. The unrebutted testimony of two fact

   witnesses is that HD95 was drawn up the peninsula for several political purposes: (1) to cut out



                                                   28
Case 3:14-cv-00852-REP-AWA-BMK Document 231 Filed 11/13/17 Page 31 of 54 PageID#
                                   8740



   highly Democratic precincts from HD93 to make it a competitive district, (2) to unseat an

   unpopular Democrat, and (3) to maintain HD94 as a Republican-friendly district. 2 Tr. 674:9–

   681:4. Not surprisingly, given the concession that the 55% BVAP target had a very minor

   qualitative impact on HD95, Plaintiffs have no meaningful response. They attack the VTD splits

   on the north end of HD95, but splitting them was necessary to allow HD95 to reach up to the

   Reservoir VTD to make HD93 competitive, 2 Tr. 677:16–679:19, and Plaintiffs do not—and

   cannot—suggest that un-splitting the VTDs would bring HD95 below 55%. Plaintiffs argue that

   Dr. Rodden’s dot maps show careful sorting by race—or, alternatively, by race as a proxy for

   politics—but the map shows a sea of black dots not included in HD95, PEX69 at 47, the VTD

   splits place over 3,000 black voters in non-challenged districts, PEX71 at 55, both HD93 and

   HD96 gave majority-white territory to HD95, PEX71 at 45, and Mr. Morgan’s efforts to follow

   census geography and to keep as little of the area in the split VTDs in HD94 and HD93 as

   possible—given that he would have preferred to place none of the territory in HD94 and

   HD93—explains all of this, 2 Tr. 679:11–680:2; 636:20–641:4. The court already found a

   predominantly political purpose, and the evidence overwhelming confirms this.

   II.    All Districts Are Narrowly Tailored

          The House had “good reasons” to believe it needed 12 ability-to-elect districts with a

   “functional working majority.” Bethune-Hill, 137 S. Ct. at 799, 801–802. Section 5 of the VRA,

   as amended, required proof of crossover voting to justify replacing functioning majority-minority

   districts with “crossover districts.” That evidence was not available in 2011 and is unavailable

   today. Moreover, the House had district-specific concerns indicating that BVAP drops

   meaningfully below 55% would be retrogressive. The 55% BVAP target was a reasonable means

   of resolving the House’s Section 5 challenges, “even if a court does not find that the actions were



                                                   29
Case 3:14-cv-00852-REP-AWA-BMK Document 231 Filed 11/13/17 Page 32 of 54 PageID#
                                   8741



   necessary for statutory compliance,” id. at 801 (quotation marks omitted), as Plaintiffs’ star

   witness, Senator McClellan, agreed, 2 Tr. 951:19–25.

           “When a State justifies the predominant use of race in redistricting on the basis of the

   need to comply with the Voting Rights Act, ‘the narrow tailoring requirement insists only that

   the legislature have a strong basis in evidence in support of the (race-based) choice that it has

   made.’” Bethune-Hill, 137 S. Ct. at 801 (quoting Alabama, 135 S. Ct. at 1247). The standard is

   met “when the legislature has ‘good reasons to believe it must use race in order to satisfy the

   Voting Rights Act.’” Id. (quoting Alabama, 135 S. Ct. at 1274). On the one hand, race-based

   districting is not narrowly tailored under VRA § 5 if it goes “beyond what was reasonably

   necessary to avoid retrogression,” Shaw v. Reno, 509 U.S. 630, 655 (1993) (Shaw I), or the

   efforts were “quite far removed” from the VRA. Miller, 515 U.S. at 926. On the other hand,

   “[t]hat standard does not require the State to show that its action was ‘actually ... necessary’ to

   avoid a statutory violation, so that, but for its use of race, the State would have lost in court.” Id.

   (quoting Alabama, 135 S. Ct. at 1247). The standard therefore can be met “‘even if a court does

   not find that the actions were necessary for statutory compliance.’” Id. (quoting Alabama, 135 S.

   Ct. at 1247).12

           A.        The House’s Statewide Strategy Was Narrowly Tailored

           The House’s efforts were neither “quite far removed” nor “beyond what was reasonably

   necessary to avoid retrogression.” A Section 5 preclearance analysis, whether by DOJ or a

   federal court, assesses “the entire statewide plan as a whole.” Georgia v. Ashcroft, 539 U.S. 261,

   479 (2003). The first step is identifying how many “ability-to-elect” districts exist in the


   12
      Plaintiffs are thus wrong in arguing (at 17) that the House must prove each district “would
   violate Section 5” without a 55% BVAP target. Moreover, Plaintiffs’ assertion (at 17) that there
   is “no compelling interest in obtaining preclearance” contradicts the Supreme Court’s attention
   to “the view of the Department of Justice.” Bethune-Hill, 137 S. Ct. at 801.
                                                     30
Case 3:14-cv-00852-REP-AWA-BMK Document 231 Filed 11/13/17 Page 33 of 54 PageID#
                                   8742



   benchmark plan, and the second is identifying how many exist in the proposed plan. Texas v.

   United States, 831 F. Supp. 2d 244, 262 (D.D.C. 2011). That can be difficult because identifying

   which benchmark and proposed districts afford that “ability” is an art, not a science, and DOJ

   does not publish its position on the question. Harris v. Ariz. Indep. Redistricting Comm’n, 993 F.

   Supp. 2d 1042, 1055 (D. Ariz. 2014), aff’d, 136 S. Ct. 1301 (2016). But, here, it is clear that

   there were 12 ability-to-elect districts in the 2001 plan—no more, no less—just as there were in

   the 1991 plan. And it is beyond dispute that the enacted plan has only 12 ability-to-elect districts.

   The House was justified in not drawing fewer ability-to-elect districts because reducing that

   number would almost certainly be deemed retrogressive. See Texas v. United States, 887 F.

   Supp. 2d 133, 178 (D.D.C. 2012). Creating a new ability-to-elect district might go “beyond what

   was reasonably necessary,” and the House rejected proposals to do that. See PEX35 at 144

   (Delegate Spruill arguing “we do not need to create another black district”). Thus, the House

   avoided the typical pitfalls under both Section 5 (too few ability districts) and the Supreme

   Court’s racial-sorting jurisprudence (too many).

          Plaintiffs do not argue otherwise. Their sole basis to claim the House went “beyond what

   was reasonably necessary” is the House’s choice to draw the districts at or above 55% BVAP.

   But, even if debatable in hindsight, drawing twelve districts at that level was not “beyond” a fair

   reading of VRA § 5 because 55% was a reasonable proxy to ensure a “functional working

   majority.” Bethune-Hill, 137 S. Ct. at 799, 801–802. If the House had drawn the districts

   meaningfully lower, they would be considered crossover districts because the minority

   community would not be sufficiently large to elect its preferred candidates without the help of

   other groups (i.e., “crossover votes”). See Bartlett v. Strickland, 556 U.S. 1, 13 (2009). If the

   House had drawn crossover districts, VRA § 5 required proof from the House that white voters



                                                    31
Case 3:14-cv-00852-REP-AWA-BMK Document 231 Filed 11/13/17 Page 34 of 54 PageID#
                                   8743



   would vote for black-preferred candidates in large numbers. The House lacked that proof, so

   Plaintiffs’ suggestion that BVAP could drop to around or below 50% is unfounded. On the other

   hand, if Plaintiffs’ position is that the House should have chosen slightly different numbers, say

   54% BVAP, in some districts, the dispute is trivial: the House had no obligation “to determine

   precisely what percent minority population § 5 demands,” Alabama, 135 S. Ct. at 1273. The

   decision was not “quite far removed” from VRA compliance. Miller, 515 U.S. at 926.

          VRA § 5. Section 5 imposed “strong medicine” on covered jurisdictions. Shelby Cty.,

   Ala. v. Holder, 133 S. Ct. 2612, 2618 (2013). In fact, Congress made that medicine even stronger

   in 2006 by amending Section 5 to reverse the Supreme Court’s decision in Georgia v. Ashcroft,

   539 U.S. 461 (2003). That decision granted states discretion to dismantle districts at 60% and

   55% BVAP and create 50% BVAP districts in their place—exactly what Plaintiffs want here—

   based on “all the relevant circumstances, such as the ability of minority voters to elect their

   candidate of choice, the extent of the minority group’s opportunity to participate in the political

   process, and the feasibility of creating a nonretrogressive plan.” Id. at 479. In amending the

   statute, “Congress rejected” the majority decision, and “it adopted the views of the dissent.”

   Alabama, 135 S. Ct. at 1273. Section 5 now is not satisfied with “minority ‘influence’”; it bars

   redistricting that leaves “minority voters with less chance to be effective in electing preferred

   candidates than they were before the change.” Ashcroft, 539 U.S. at 494 (Souter, J., dissenting).

          Under the new statute, dropping BVAP from 60% or 55% to 50% (or a number near that)

   would be retrogressive because a district at 60% or 55% BVAP would ensure that the minority

   community could elect its preferred candidates without the help of voters of other racial groups,

   but a 50% BVAP (or lower) district requires “crossover” votes or else the minority-preferred

   candidate will lose. Texas, 831 F. Supp. 2d at 263; see also Texas, 887 F. Supp. 2d at 169. To be



                                                    32
Case 3:14-cv-00852-REP-AWA-BMK Document 231 Filed 11/13/17 Page 35 of 54 PageID#
                                   8744



   sure, the amended statute would allow such BVAP drops if, and only if, the state justified those

   drops by presenting affirmative proof (either to DOJ or the U.S. District Court for the District of

   Columbia) of reliable crossover voting—or some other evidence that the minority “ability” to

   elect remained as strong as in the benchmark plan. Id. But without that proof, dropping BVAP

   from around or above 55% to around or below 50% would be deemed retrogressive.

             That is clear from the facts in Ashcroft. Districts in that case dropped from, for example,

   “60.58% to 50.31%”; “55.43% to 50.66%”; and “62.45% to 50.80%.” 539 U.S. at 472–73. The

   district court denied preclearance and the Souter opinion Congress later adopted agreed.

   According to that opinion, the “nub” of the preclearance question was “what the evidence

   showed” about polarized voting, and the Georgia plan failed for lack of “anything relevant on

   that issue.” 539 U.S. at 500. Section 5 “look[s] to the State to explain why retrogression is not

   present, and to prove the absence of racially polarized voting that might diminish African

   American voting strength in light of several districts’ decreased BVAPs.” 539 U.S. at 500 n.3

   (emphasis added). In other words, in 2011, the House had to prove “the absence of racially

   polarized voting” before it dropped BVAP levels to around or below 50%. Id.

             Under that standard, courts this cycle rejected plans with even minor drops in minority

   VAP. Texas House District 35, for instance, failed preclearance because of a drop in HCVAP

   from 54.6% to 52.5%.13 Texas, 887 F. Supp. 2d at 168. The evidence was in equipoise because it

   consisted largely of exogenous races (i.e., races not involving House District 35), so even the

   slight drop was unjustified given that “Congress has allocated the burden to prove lack of

   discriminatory effect to the State.” Id. at 167–68 & n.37. The three-judge panel also found

   retrogression in a district where minority VAP went up 5 percentage points, id. at 171, and where


   13
        Plaintiffs’ counsel were counsel in the case to parties opposing preclearance.

                                                      33
Case 3:14-cv-00852-REP-AWA-BMK Document 231 Filed 11/13/17 Page 36 of 54 PageID#
                                   8745



   it was unchanged, id. at 155. That is in line with DOJ’s position in this and prior cycles. For

   example, in August 2000, DOJ denied preclearance for a decrease in percentage of minority

   registered voters from 51.2 to 45.7 percent, because “a current racial bloc voting analysis could

   not be completed” and racial bloc voting had been found to exist “[i]n 1975.” Alabaster, Shelby

   County Preclearance Letter (Aug. 16, 2000) (emphasis added). Virginia experienced similar

   preclearance denials over the decades. Int’s Opening Br., ECF No. 203, at 3–5.

          If Virginia had chosen, as Plaintiffs advise, to place its threshold near or below 50%

   BVAP, it faced an impossible preclearance battle. It would have failed to prove crossover voting,

   see infra, and the resulting Section 5 litigation would have been on all fours with Ashcroft. The

   same BVAP drops would have been at issue; the record would show the same lack of evidence;

   and the only difference would be the amended statute, codifying Justice Souter’s views as law.

          Plaintiffs say the House’s choice not to invite that likely preclearance denial was not

   tailored without evidence of “conditions in different districts” to justify 55% BVAP. Br. at 19.

   The House had that evidence, and it is discussed below at § III.C. But, more importantly, this

   gimmickry with the burden makes the House’s position impossible: what matters at preclearance

   is not whether the state can justify 55% BVAP, but whether it can justify dropping BVAP into

   the vicinity of 50%, which would require it to “prove the absence of racially polarized voting.”

   Ashcroft, 539 U.S. at 550 n.3 (emphasis added).14 Thus, the House’s decisions are narrowly

   tailored if it can show in this case that, had it dropped BVAP near or below 50%, it could not

   have proven the “absence of racially polarized voting.” Choosing a number 5% higher than a



   14
     Plaintiffs’ reliance on Cooper v. Harris, 137 S. Ct. 1455, 1470 (2017), is misplaced because
   the case assessed narrow tailoring under VRA § 2, which places an affirmative burden on the
   party alleging polarized voting to prove it. Id. Under VRA§ 5, polarized voting is assumed,
   unless the party alleging it proves otherwise.

                                                    34
Case 3:14-cv-00852-REP-AWA-BMK Document 231 Filed 11/13/17 Page 37 of 54 PageID#
                                   8746



   bare majority is a reasonable means of ensuring non-retrogression without proof of reliable

   crossover voting. In fact, the U.S. District Court for the District of Columbia this cycle set 65%

   minority VAP as the appropriate number to prove non-retrogression without evidence of

   crossover voting. Texas, 887 F. Supp. 2d at 169; Texas, 831 F. Supp. 2d at 263. A number 10

   points below that is not “beyond what is reasonably necessary.”15

          The House’s Statewide Evidence. The trial record shows that the evidence the House

   needed to prove high crossover voting was not available and could not have been available in

   2011. Indeed, the House was well aware of what it did not know. As discussed in more detail

   below, it had district-specific concerns that BVAP drops would be retrogressive. But much of the

   relevant evidence was the same for every district, and it confirmed that there was no way to

   justify BVAP drops. See Bethune-Hill, 137 S. Ct. at 800 (statewide evidence is probative).

          No one presented the House with an elections analysis to prove that white voters

   routinely cross over to support black-preferred candidates. 2 Tr. 64:22–25; 2 Tr. 110:16; 2 Tr.

   134:15–17, 1 Tr. 271:12–23. Assuming crossover voting would be pure speculation. See

   Ashcroft, 123 S. Ct. at 501–02 (finding “evidence of voting behavior by majority voters”

   essential to preclearance). It would be contrary, for example, to the “severe and persistent pattern

   of racially polarized voting” that this Court found in Henrico County, which provides population

   for 3 of the 4 Challenged Districts in the Richmond area, McDaniels v. Mehfoud, 702 F. Supp.

   588, 593 (E.D. Va. 1988), and to other evidence the House had in 2011, including in the Loewen



   15
      In this regard, the Section 5 narrow-tailoring burden is conceptually similar to a defendant’s
   burden when it moves for summary judgment, which is to show the “absence of a genuine issue
   of material fact,” and absence can be shown by pointing to a dearth of evidence that is required
   to prove the underlying claim. Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986). Likewise, the
   underlying Section 5 case here—if BVAP dropped to around or below 50%—would turn on the
   House’s ability prove the “absence of racially polarized voting.” Ashcroft, 539 U.S. at 550 n.3
   (emphasis added). Evidence that such proof did not exist would justify districts above 50%.
                                                   35
Case 3:14-cv-00852-REP-AWA-BMK Document 231 Filed 11/13/17 Page 38 of 54 PageID#
                                   8747



   Report, IEX103 Ex. A, and in prior DOJ preclearance letters, Int’s Pre-Trial Br. at 4. Indeed, the

   Loewen report observed that “voting for the Virginia legislature has customarily been marked by

   racial polarization” and that, accordingly, “districts 55% to 62% in black VAP cannot be

   considered packed” (both based on electoral evidence and on the general understanding that the

   term “packed” is “reserved for districts with much higher proportions of potential black voters

   than 53–59%”). IEX103 Ex. A at 16, 23, 36, 43. Plaintiffs contend (at 22–23) that the House did

   not rely on the Loewen report, but it was the expert report for the winning side in litigation

   naming Delegate Jones as a defendant, and Delegate Jones testified that he was generally aware

   that it supported the 55% target and that his lawyers relied on it. 2 Tr. 513:4–11. Plaintiffs’

   contention (at 25) that the report is not “substantive evidence” ignores that Delegate Jones’s

   testimony is. And Plaintiffs’ discovery objection, Br. at 23 n.10, is revisionist; the report was

   produced to them years ago.

          Plaintiffs balk at the age of this evidence, but miss the point: without evidence to the

   contrary the House had to presume polarized voting. This evidence only fortified that

   presumption. In fact, this information was the best information available because of the short

   time frame available to redistrict (the Loewen report, after all, was prepared after the prior

   redistricting, not before) and because there was not enough endogenous data to do a “meaningful

   analysis.” 1 Tr. 761:1–15 (Ansolobehere); 1 Tr. 697:1–17. Plaintiffs contend that exogenous

   races, those for offices other than House of Delegates seats, would suffice, but Justice Souter

   disagreed, rejecting an analysis “in statewide, not local, elections” as meeting the state’s burden

   for legislative districts. 539 U.S. at 507. Federal races have even less probative value, because

   they occur in even years with different voter turnout. 2 Tr. 909:10–16. An unsupported claim by

   the House that voting patterns had changed would face an incredulous Voting Rights Section.



                                                    36
Case 3:14-cv-00852-REP-AWA-BMK Document 231 Filed 11/13/17 Page 39 of 54 PageID#
                                   8748



          The House also lacked relevant data on racial registration and turnout. Plaintiffs fault

   Delegate Jones (at 18–19) for not examining such data, but he could not have done so, because

   Virginia does not record voter registration or turnout by race. 1 Tr. 727:3–10; 2 Tr. 848:11–22.

   Thus, there was no way to prove that high registration or turnout data would justify a BVAP

   drop, making a raw majority even more precarious. House members expressed anecdotal

   knowledge on the House floor that black registration and turnout were below white turnout,

   meaning that 50% BVAP did not ensure minority-candidate success, without crossover voting

   (which the House also could not show). PEX33 at 45; PEX35 at 41.

          Plaintiffs suggest that the House should have justified BVAP nose-dives by the success

   of incumbent Delegates, but the House members shared doubts on the floor and at trial that

   incumbent election results, which carry an incumbency advantage, were not probative of

   minority voting power. PEX35 at 41–42; PEX35 at 158. Justice Souter’s Ashcroft dissent, 123 S.

   Ct. at 496, and the lower-court decision he would have affirmed both echo that concern:

          Senator Robert Brown is the incumbent and has been reelected without opposition
          three times, and once without opposition in the general election. Most witnesses
          believed that incumbent Senator Brown would be re-elected under the proposed
          plans; however, they were especially fearful that it will be difficult to elect a
          candidate of choice in the proposed Senate District 26 if Senator Brown did not
          decide to run for re-election.

   Georgia v. Ashcroft, 195 F. Supp. 2d 25, 91 (D.D.C. 2002); see also id. at 101 (“The Voting

   Rights Act does not protect minority incumbents; it protects minority voters. It is thus a

   dangerous business to conflate a politician’s assessment of her own continued electoral prospects

   with the genuine protection of African American voting strength.”). Proof of incumbent success

   would not carry the House’s burden. In fact, House Members believed that, in open-seat races,

   minority-preferred candidates often lost. E.g., PEX35 at 144–46.




                                                   37
Case 3:14-cv-00852-REP-AWA-BMK Document 231 Filed 11/13/17 Page 40 of 54 PageID#
                                   8749



          Another bar to preclearance of 50% districts would have been the Black Caucus

   members’ advocacy of 55% BVAP, meaning adverse Black Caucus testimony in preclearance

   litigation would evidence discriminatory intent, an independent basis to deny preclearance.

   Ashcroft, 539 U.S. at 503 (Souter, J.). Delegate Spruill stated that “mostly every member of the

   Black Caucus” was consulted, along with NAACP leaders in Suffolk, Chesapeake, and Virginia

   Beach, and he supported 55% districts. PEX35 at 142, 146–47. Delegate Dance also stated that

   the Black Caucus had “a lot of voice” and supported the bill because it “does provide the 55

   percent voting strength that I was concerned about.” PEX35 at 157; PEX33 at 44. The only

   Black Caucus Member to disagree wanted higher BVAP. PEX40 at 39.

          Plaintiffs ask the Court to reject the House floor testimony in favor of contradictory,

   often equivocal, testimony offered six years later, such as testimony that Delegate Dance did not

   mean “I” when she said “I” (she meant “Jones”), 2 Tr. 120:22–121:16; that Delegate Howell,

   who fought in the civil-rights protests, did not believe a “protest vote” was worthwhile, 2 Tr.

   85:8–12, 96:24–97:8; and that Delegate McClellan expected Delegate Jones to learn

   telepathically that she opposed a 55% BVAP target. 2 Tr. 952:1–6. None of this was before the

   House in 2011, so throwing out the plan on this basis would force states into the impossible

   position of having to predict whether Delegates who provide input on a plan will change their

   story later, thereby removing the justification relied on at the time. See PEX35 at 41 (Delegate

   Jones stating, in 2011, that he relied on Delegate Dance and other Black Caucus Members).

          Finally, the amended Section 5 defeats Plaintiffs’ implicit argument that the House

   should have risked the defeat of minority-preferred candidates. To the contrary, whereas VRA

   § 2 is satisfied by minority “opportunity” to elect, what “matters under Section 5” is “‘being

   able’ or ‘having the power’ to elect.” Texas, 831 F. Supp. 2d at 261. A plan that turned “ability”



                                                   38
Case 3:14-cv-00852-REP-AWA-BMK Document 231 Filed 11/13/17 Page 41 of 54 PageID#
                                   8750



   districts into “opportunity” districts would be retrogressive. Moreover, to the extent Plaintiffs are

   not advocating for crossover districts, but rather advocating for slightly different BVAP levels—

   say 53% or 54%—their position is meritless. The House did not have to determine “‘precisely

   what percent minority population § 5 demands.” Alabama, 135 S. Ct. at 1273. The difference

   between these numbers is within the margin of error in any statistical analysis, and data error not

   captured in formal margins of error renders prediction of minority performance a matter of

   speculation that “we should all take with a grain of salt.” Nathaniel Persily, The Promise and

   Pitfalls of the New Voting Rights Act, 117 Yale LJ. 174, 2501–51 (2007); IEX 103 at 8–9. Dr.

   Palmer agreed that the data used in polarization analyses cannot identify appropriate district-

   specific BVAP levels between 50% and 55%. 2 Tr. 446:4–23. Using 55% BVAP as a proxy to

   ensure non-retrogression without evidence of crossover voting was not “beyond what was

   reasonably necessary to avoid retrogression.” Shaw I, 509 U.S., at 655.

          Expert Evidence. Plaintiffs’ evidence confirms that the House could not prove non-

   retrogression in 2011. Even if the House had hired Dr. Palmer in 2011 as the House’s expert to

   obtain preclearance for districts around or below 50% BVAP, and even if he had performed the

   same analyses he performed in this case back in 2011, the House would have likely lost the

   preclearance case in the U.S. District Court for the District of Columbia. That is evident because

   similar analyses were found insufficient to prove non-retrogression in Ashcroft.

          First, like the analysis found insufficient in Ashcroft, Dr. Palmer’s analysis “focuses on

   statistics about…Democrats,” proving that white and black voters in some areas will vote in

   general elections for the Democratic ticket. 539 U.S. at 507–08 (Souter, J.); compare PEX71 at

   24–27. That does not prove non-retrogression because “the minority group may well have no

   impact whatever on which Democratic candidate is selected to run.” 539 U.S. at 507–08. Dr.



                                                    39
Case 3:14-cv-00852-REP-AWA-BMK Document 231 Filed 11/13/17 Page 42 of 54 PageID#
                                   8751



   Palmer analyzed no primary data and only opines on Democratic voting strength, rather than

   minority voting strength. See also Ashcroft, 195 F. Supp. 2d at 93 (“Whatever success the

   Georgia Democratic Party may enjoy as a result of the Senate redistricting plan does not and

   cannot immunize the plan’s racially retrogressive effects from Section 5 attack.”).

          Second, Dr. Palmer’s racially polarized voting analyses are limited to exogenous

   elections and includes no analysis of House of Delegates elections. PEX71 at 24–27. The now-

   controlling Ashcroft opinion found a similar analysis insufficient to prove non-retrogression

   given differences in voting patterns. 539 U.S. at 507. Dr. Palmer’s analysis is even worse

   because it depends on federal even-year presidential data, 2 Tr. 416:5–7, which has no probative

   import, 2 Tr. 909:10–16, and involved Barack Obama, a “political superstar[]” whose success

   “hardly proves” what is needed for black-supported candidates to win House races. IEX103 Ex.

   A at 18; see, e.g., Nipper v. Chiles, 795 F. Supp. 1525, 1535 n.8 (M.D. Fla. 1992); Nipper v.

   Smith, 39 F.3d 1494, 1505 n.2, 1547 (11th Cir. 1994).

          Third, like the analysis rejected in Ashcroft, Dr. Palmer “did not attempt to compare the

   proposed plan with the benchmark plan,” but only “looked at racial polarization in existing”

   districts. Ashcroft, 195 F. Supp. 2d. at 85–86. To assess the data’s probative value, the court

   would need corresponding evidence on the “overlap” of the benchmark and enacted districts. Id.

          Fourth, Dr. Palmer’s analysis shows racially polarized voting in Challenged Districts in

   the 2009 Gubernatorial race. PEX71 at 48; 2 Tr. 451:5–452:4. Faced with the burden to “prove

   the absence of racially polarized voting,” Ashcroft, 539 U.S. at 550 n.3 (emphasis added),

   presenting proof that it exists would kill the effort to drop BVAP. Dr. Palmer only concludes that

   55% BVAP was not “necessary” by, first, averaging statewide results with even-year elections

   involving Barack Obama, and, second, making a separate set of predictions about what election



                                                    40
Case 3:14-cv-00852-REP-AWA-BMK Document 231 Filed 11/13/17 Page 43 of 54 PageID#
                                   8752



   results in House of Delegates elections would be at different BVAP levels. PEX71 at 25–27.

   That reckless speculation “carries a whiff of the lamp” because no one “know[s] how

   [Virginia’s] voters will actually behave if the percentage of something is x, or maybe y”; “[w]e

   are arguing about numerical abstractions.” Ashcroft, 123 S. Ct. at 508 (Souter, J., dissenting).

   This analysis fails to account for the impact that a BVAP change itself has on elections, given

   that political candidates, parties, and voters will take that number into account in assessing where

   to invest time and resources. IEX 103 at 11 (discussing the “warming” and “cooling” effect).

   Elections do not occur in a sterilized laboratory, and the VRA does not assume they do.

   Additionally, Dr. Palmer’s analysis of what BVAP “ought to be” is a VRA § 2 analysis; Section

   5 compares minority voting strength with the benchmark, Reno v. Bossier Par. Sch. Bd., 528

   U.S. 320, 334 (2000), which Dr. Palmer does not address, Ashcroft, 195 F. Supp. 2d. at 85–86.

          Indeed, the analyses of Dr. Katz and Dr. Hood confirm the existence of polarized voting

   by examining the performance of the actual districts the House enacted. In its previous decision,

   this Court analyzed “2011 and 2013 elections” in finding polarized voting in HD75 and HD63.

   141 F. Supp. 3d at 559 (emphasis added). The Supreme Court found “no error in the district

   court’s conclusion” because, inter alia, “the Challengers do not dispute that HD75 was an ability

   to elect district or that white and black voters in the area tend to vote as blocks.” Bethune-Hill,

   137 S. Ct. at 801 (citing, inter alia, page 559 of this Court’s opinion). Accordingly, Dr. Hood and

   Katz analyzed additional elections from these years and confirmed that polarized voting

   continued in the enacted plan. IEX103 at 5–7; 12–14; IEX101 at 1–5. Plaintiffs retort (at 19–22)

   that some of Dr. Katz’s races lack sufficient data to establish (or refute) polarized voting, and

   that Dr. Hood did not provide confidence intervals. There is, however, reasonable disagreement

   in the academic community as to how relevant confidence intervals are in this context, see



                                                    41
Case 3:14-cv-00852-REP-AWA-BMK Document 231 Filed 11/13/17 Page 44 of 54 PageID#
                                   8753



   Loewen Des., ECF No. 220-1, at 191–200,16 and gaps in the analysis do not show a means by

   which the House could have met its Section 5 burden of proving the “absence of racially

   polarized voting”; they suggest the opposite. Accordingly, Dr. Katz’s analysis would prevent

   him from opining that polarized voting does not exist or exists only at low levels. 2 Tr. 834:3–7.

          Indeed, five experts with the benefit of six years of hindsight have tried to do what the

   House had six weeks to accomplish, and none of them has identified a better approach. Even if

   the Court disagrees and determines, in hindsight, that the House could have obtained

   preclearance for districts with lower BVAP, the House’s concerns about the absence of evidence

   were reasonable at the time, and it had “good reasons” to do what it did.

          The House’s Discretion. Even if the House somehow could have justified crossover

   districts, it would have been within its discretion to draw “safe” districts anyway. Both the

   Georgia v. Ashcroft majority and dissent (with significant qualifications) agreed that “a State

   may choose to create a certain number of ‘safe’ districts, in which it is highly likely that minority

   voters will be able to elect the candidate of their choice” or, alternatively “a greater number of

   districts” in which minority ability-to-elect it is “not quite as likely.” 123 S. Ct. at 481–80.

   Section 5 could therefore be satisfied with “safe” districts even if crossover districts were lawful.

          Indeed, the record reflects a team-of-rivals debate on the very question: Delegate Spruill

   “believed you needed…a large percentage of black voting age population in a district to better

   ensure that a black candidate would be elected,” but then-Delegate McLellan believed a lower

   number would suffice.17 2 Tr 950:3–13. Senator McLellan, however, testified that “reasonable


   16
     Dr. Loewen reviewed Dr. Hood’s report and found that it was “competent,” “[w]ell done,” and
   “dealt with important issues.” Loewen Des., ECF No. 220-1, at 162–63.
   17
     The evidence weighs against Senator McClellan’s view that Delegate Spruill is an “outlier”
   when both Spruill and Delegate Dance spoke in favor of 55% BVAP on the House floor, and no
   Black Caucus Member disagreed. 2 Tr. 951:18–952:8.
                                                     42
Case 3:14-cv-00852-REP-AWA-BMK Document 231 Filed 11/13/17 Page 45 of 54 PageID#
                                   8754



   minds can disagree” on this question, 2 Tr. 951:21–25, a view she shares with the Ashcroft

   majority and (with appropriate proof) the dissent. In fact, the House deliberated on this, hearing

   the advocacy of two white Delegates for lowering BVAP to allow a 13th majority-black district.

   PEX35 at 100–141; PEX35 at 161–64. The House—including Delegate McClellan and

   numerous other Black Caucus members—voted for 12 “safe” districts instead. That is

   responsible deliberation, not unwarranted action “beyond” the VRA. Shaw I, 509 U.S., at 655.

             C.     Each District Individually Is Narrowly Tailored

             In addition to lacking actual evidence to support any crossover districts, the House had

   district- and region-specific concerns about minority voting strength justifying 55% BVAP.

             The Richmond/Tri-City Region. The House had “good reasons” to believe that five safe

   districts at 55% BVAP or higher were needed in the Richmond region.

             HD63 was at 58.1% BVAP in the benchmark plan. IEX15 at 13. Delegate Dance

   expressed concern on the House floor that black turnout in Petersburg, the population center of

   HD63, was lower than white turnout, and therefore advocated a 55% BVAP target. PEX33 at 45.

   The Court has already held that “Plaintiffs’ own expert noted that HD63 and HD75 ‘exhibit high

   rates of [racial] polarization because large majorities of Whites vote in the opposite way as large

   majorities of African Americans.’” 141 F. Supp. 3d at 559. Dr. Palmer’s analysis also concedes

   high polarized voting in odd-year elections. PEX71 at 48. HD63, though long drawn as an

   ability-to-elect district, failed to perform in the 90s cycle, IEX103 Ex. A at 28, and a minority

   preferred candidate was defeated in 2001 as well, 1 Tr. 455:21–456:21.18 Dropping HD63 below

   55% BVAP from 58.1% BVAP with all signs indicating low minority turnout and polarized

   voting, and no way to disprove that, would have been retrogressive. Moreover, Plaintiffs contend


   18
        Delegate Jones was aware of election histories when he drew the plan. 1 Tr. 462:9–11.

                                                     43
Case 3:14-cv-00852-REP-AWA-BMK Document 231 Filed 11/13/17 Page 46 of 54 PageID#
                                   8755



   that the race-based measures in HD63 brought HD75 above 55% BVAP, 2 Tr. 984:1–8, so those

   measures are narrowly tailored because HD75 was properly drawn above 55% BVAP.

          HD74 was at 62.7% BVAP in the benchmark plan. IEX15 at 13. In 2005, the minority

   community failed to elects its preferred candidate when a white delegate defeated multiple black

   delegates in a multi-way primary, which split the black vote. 1 Tr. 457:19–458:5. Delegate Jones

   believed at the time that this was a loss for the minority-preferred candidate, id., and Delegate

   Spruill expressed the same concern on the House floor in 2011, PEX35 at 144.19 Dr. Palmer’s

   analysis confirm odd-year polarized voting in HD74, PEX71 at 48, so a dramatic reduction from

   62% to below 55% BVAP would have been retrogressive.

          HD71 had experienced a dramatic fall in BVAP over the decade from over 55% BVAP, 2

   Tr. 698:22–25, to about 46% BVAP, IEX15 at 13. The black community in the district had the

   ability to elect its preferred candidates as far back as anyone can recall, 1 Tr. 457:8–18,

   triggering Section 5 protection, but House members were concerned that the BVAP level

   sufficient to elect incumbent Jenifer McClellan—a particularly talented candidate who drew

   crossover votes—would not suffice to protect minority voting strength if the seat became open. 2

   Tr. 127:18–134:5 (Dance); PEX40 at 46. Accordingly, the House concluded that (1) BVAP

   needed to be sufficiently high that the minority community’s voting strength would continue

   after Delegate McClellan’s tenure, and (2) it needed to be high enough to protect minority voting

   strength from the highly likely continued decline in BVAP. 1 Tr. 292:1–293:3; 2 Tr. 699:1–14.

   Drawing it at 46% BVAP would do neither. Drawing it at 50% BVAP might maintain the

   minority community’s ability to elect temporarily, but it would not account for the future decline.




   19
     Not surprisingly, the white representative of HD74, Delegate Joe Morrissey, advocated that
   black voters be taken out of his and other majority-minority districts. PEX35 at 100–141.
                                                    44
Case 3:14-cv-00852-REP-AWA-BMK Document 231 Filed 11/13/17 Page 47 of 54 PageID#
                                   8756



   Drawing it at 55% BVAP accomplished both goals. Notably, Plaintiffs’ alternative, PEX69 at 17,

   would draw HD71 lower than 46%, possibly to 40% BVAP, and could not be precleared.20

          HD69 was at 56.3% BVAP in the benchmark plan. IEX15 at 13. Although generally able

   to elect minority-preferred candidates, the black community suffered a defeat in 2009 when a

   white candidate, Betsy Carr, defeated several black candidates in a multi-way primary, splitting

   the black vote. 1 Tr. 456:12–21. Delegate Spruill expressed concern in 2011 that this race was

   not a victory for the minority-preferred candidate. PEX35 at 145. Dr. Hood’s analysis confirms

   that the 2009 race was polarized and that the minority-preferred candidate lost. IEX103 at 15. Dr.

   Palmer’s analysis is equivocal on polarized voting, PEX71 at 48, and there is no evidence on

   record, even today, proving its absence.

          HD70 was at 61.8% BVAP in the benchmark plan, and it was a performing ability-to-

   elect district. 1 Tr. 457:1–7. Dr. Palmer’s analysis finds odd-year polarized voting, PEX71 at 48,

   and Dr. Hood concurs, IEX103 at 12. Moreover, Plaintiffs contend the race-based measures in

   HD70 were designed to ensure that HD71, not HD70, was above 55% BVAP, so those measures

   are narrowly tailored if there is a strong basis in evidence on HD71, and there is.

          Hampton Roads. The House had every reason to believe it needed to use race as a factor

   in Hampton Roads because there were six ability-to-elect districts in the benchmark plan. It also

   had good reasons to give each a functional working majority.

          HD77 was at 57.8% BVAP in the benchmark plan. IEX15 at 13. As of 2011, Delegate

   Spruill had represented the district since 1993, but in the prior election, the minority-preferred

   candidate was defeated, 1 Tr. 459:22–460:5, and concern was expressed on the House floor that

   elections involving Delegate Spruill did not accurately reflect what a successor minority-


   20
     Plaintiffs’ alternative would also ratchet up BVAP in HD70 to well over 60% BVAP. The
   layperson’s terms for such a proposal are “cracking” and “packing.”
                                                    45
Case 3:14-cv-00852-REP-AWA-BMK Document 231 Filed 11/13/17 Page 48 of 54 PageID#
                                   8757



   preferred candidate could accomplish, PEX35 at 41–42. Delegate Jones conferred with Delegate

   Spruill about minority performance in the district. 1 Tr. 467:12–15. Dr. Palmer’s report shows

   polarized voting in odd-year elections. PEX71 at 48.

          HD90 was at 56.9% BVAP in the benchmark plan. IEX15 at 13. The minority

   community saw the defeat of its preferred candidate in 2002 when Billy Robinson lost to a

   Republican in a general election. 1 Tr. 488:15–24. Dr. Palmer’s analysis shows polarized voting

   in odd-year elections, PEX71 at 48, and no record evidence suggests the House could have

   proven otherwise in 2011.

          HD80 was at 54.4% BVAP in the benchmark plan. IEX15 at 13. It was a performing

   ability-to-elect district in the benchmark plan. 1 Tr. 460:9–25. Dr. Palmer’s analysis confirms

   polarized voting in odd-year elections in HD80. PEX71 at 48. There is no evidence that the

   House could have proved non-retrogression by allowing BVAP to fall towards or below 50%.

          HD89 was at 52.5% BVAP in the benchmark plan. IEX15 at 13. It was a performing

   ability-to-elect district in that plan. 1 Tr. 461:3–11. Delegate Jones discussed the district with the

   incumbent Delegate Alexander, id., as well as Delegate Spruill who had input in all the South

   Hampton Roads districts, 2 Tr. 499:16–25. Dr. Palmer’s analysis shows polarized voting in the

   district in odd-year elections, PEX71 at 48, and there was no proof to the contrary.

          HD92 was at 62.1% BVAP in the benchmark plan. IEX15 at 13. It was a performing

   ability-to-elect district in that plan. 1 Tr. 461:22–462:2. Dr. Palmer’s analysis shows odd-year

   polarized voting, PEX71 at 48, and no evidence justified an 8-point dive below 55% BVAP.

          HD95 was at 61.6% BVAP in the benchmark plan. IEX 15 at 13. It was a performing

   ability-to-elect district in that plan. 1 Tr. 462:1–8. Dr. Palmer’s analysis shows odd-year

   polarized voting, PEX71 at 48, and no evidence justified a 7-point dive below 55% BVAP.



                                                     46
Case 3:14-cv-00852-REP-AWA-BMK Document 231 Filed 11/13/17 Page 49 of 54 PageID#
                                   8758



   III.   Plaintiffs’ Theory, if Law, Would Gut the VRA

          Plaintiffs’ challenge, at base, is not to the House plan, which Democrats and Republicans

   saw in 2011 as “fair and reasonable,” IEX4 at 13, but to the VRA itself. As the Court commented

   previously, “the ability-to-elect standard…inherently utilizes racial floors,” so a constitutional

   theory rendering racial targets inherently or normally suspect draws “into question” the validity

   of the VRA and even “the compatibility of the Fourteenth Amendment’s Equal Protection Clause

   and the Fifteenth Amendment’s Enforcement Clause.” 141 F. Supp. 3d at 527 & nn. 11–13. In

   rejecting Plaintiffs’ argument that a racial target is presumptively unconstitutional, the Supreme

   Court avoided this problem, but Plaintiffs’ repackaging of the argument on remand, which would

   nearly always subject VRA compliance to strict scrutiny, revives it.21

          Aside from laying the groundwork for striking down the VRA, Plaintiffs’ theories would

   immediately neuter the VRA’s ongoing practical impact in Virginia. A federal-court finding that

   polarized voting in Virginia is non-existent or legally insignificant, as Plaintiffs advise, would

   mean that future redistricting efforts in the Commonwealth may occur unencumbered by VRA

   § 2, which requires proof of polarized voting. Growe v. Emison, 507 U.S. 25, 40–42 (1993). In

   fact, the legislature going forward would be prohibited from drawing minority-opportunity

   districts. See Cooper v. Harris, 137 S. Ct. 1455, 1470 (2017). That occurred in North Carolina,

   where, after Plaintiffs’ counsel persuaded a federal court that no polarized voting exists, the lines




   21
      Predictably, legal activists who have long sought to cripple the VRA have taken notice of this
   case, including the lawyer who argued and won Shelby County. He recently filed a test case,
   citing this litigation and Cooper, against the California’s Voting Rights Act and suggested in the
   complaint that VRA § 2 is next on his agenda. Higginson v. Becerra, 3:17-cv-02032, Complaint,
   ECF No. 1 at 6 (S.D. Cal. filed Oct. 4, 2017); see Rick Hasen, New Lawsuit by Ed Blum Attacks
   Constitutionality of California Voting Rights Act, Election Law Blog (October 4, 2017),
   http://electionlawblog.org/?p=95219.

                                                    47
Case 3:14-cv-00852-REP-AWA-BMK Document 231 Filed 11/13/17 Page 50 of 54 PageID#
                                   8759



   were redrawn with no attention to the VRA. See Harris v. McCrory, 2016 WL 3129213, at *2

   (M.D.N.C. June 2, 2016) (rejecting objections to new North Carolina plan).

          In this regard, there is only a hair’s breadth difference between Plaintiffs’ position and

   the position of Justice Thomas that the Virginia House should have known that the data

   supporting VRA §§ 4 and 5 was outdated, forecast the Supreme Court’s Shelby County decision

   two years in advance, and told DOJ to go pound sand. 137 S. Ct. at 803–807. In Plaintiffs’

   modified version, the House should have understood from Barack Obama’s victories in Virginia,

   see PEX71 at 19, 24- 26, 48-49, 66, 68; PEX50 at 30, 40, 42, 48, 49, 52-53 (relying on Obama

   election results), that the dream of racial equality in voting had been realized and that the VRA

   had outlived its shelf life. Drawing that conclusion from the Obama victories would be

   unfounded, see 1 Tr. 199:7–10 (Judge Lee observing that “2008 was kind of unprecedented from

   the standpoint of voter turnout in the state”), as Dr. Ansolabehere has opined.22 Using that

   conclusion to cut off the VRA’s application to redistricting in this former flagship of the

   Confederacy would be an extraordinary step backward for minority voting rights.

   IV.    The Court’s Discretion in Remedying Any Violations Is Restricted

          A two-step process is required if Plaintiffs prevail on any Challenged Districts.

          First, the Court must afford the legislature a reasonable opportunity to remedy the legal

   defect through a new plan. Reynolds v. Sims, 377 U.S. 533, 586 (1964). At the first step, this

   Court would be required to provide reasonable time for the General Assembly to “address [the]

   highly political task” of creating a new plan; during this time “federal judges” must “defer.”

   Growe v. Emison, 507 U.S. 25, 33 (1993); Scott v. Germano, 381 U.S. 407, 409 (1965). The


   22
      Stephen Ansolabehere et al., Race, Region, and Vote Choice in the 2008 Election:
   Implications for the Future of the Voting Rights Act, 123 Harv. L. Rev. 1385, 1435–36 (April
   2010) (finding that the results of the 2008 Presidential election should not be cause for
   transforming requirements under the VRA).
                                                   48
Case 3:14-cv-00852-REP-AWA-BMK Document 231 Filed 11/13/17 Page 51 of 54 PageID#
                                   8760



   General Assembly’s power would be limited only by the mandate to remedy the violation;

   otherwise its “freedom of choice to devise substitutes” must “not be restricted.” Burns v.

   Richardson, 384 U.S. 73, 85 (1966). The General Assembly would be required to redraw those

   districts invalidate, but would not be otherwise limited. See id. at 83–85.

          Second, if the legislature fails to pass a new plan, the Court must undertake the

   “unwelcome” task of creating a plan that remedies the violation. Wise v. Lipscomb, 437 U.S.

   535, 540 (1978). The Court, however, would not be similarly situated with the legislature in this

   task. It would have no freedom to make its own policy, but would be required to “honor state

   policies” and not “unnecessarily put aside” the House’s prior districting decisions. White v.

   Weiser, 412 U.S. 783, 796 (1973). The Court must choose a remedial plan “which most clearly

   approximate[s] the reapportionment plan of the state legislature, while satisfying constitutional

   requirements.” Id.; see also Upham v. Seamon, 456 U.S. 37, 42–44 (1982). The state plan serves

   as a starting point for the district court. Perry v. Perez, 565 U.S. 388, 394 (2012).

          In suggesting the Court indiscriminately redraw Challenged Districts, non-challenged

   districts, “surrounding areas,” and entire “regions” where no violation is found, Br. at 49,

   Plaintiffs recommend a course of action the Supreme Court has rebuked. In Upham v. Seamon,

   456 U.S. 37 (1982), the Supreme Court stayed a federal district court’s districting plan issued

   just hours after striking down the plan put forward by the Florida legislature, and it later reversed

   the ruling of the district court on the merits because the court’s plan departed unnecessarily

   legislative policy. See also White, 412 U.S. at 796; Perry, 565 U.S. at 393–99. The replacement

   map must be tailored to remedying violations—nothing more.

          Any constitutional violation in this case would be for “unjustified racial classification,”

   and it would be unique to any district invalidated. Bethune-Hill, 137 S. Ct. at 798, 799–800.



                                                    49
Case 3:14-cv-00852-REP-AWA-BMK Document 231 Filed 11/13/17 Page 52 of 54 PageID#
                                   8761



   Remedying districts drawn with unjustified racial “considerations,” id. at 799, would require

   replacement districts drawn without racial considerations. Yet Plaintiffs ask the Court to

   expressly employ racial considerations to intentionally “‘unpack’ the unconstitutional districts,”

   Br. at 49, but Plaintiffs neither alleged nor proved “packing.”23 Their proposal would require

   racial classifications, and there would be no compelling interest to justify them. See Georgia v.

   Ashcroft, 539 U.S. 461, 491 (2003) (Kennedy, J., concurring). The proper remedy would be

   districting with no attention to race. And, contrary to Plaintiffs’ suggestion (at 50) that the Court

   may follow “ripple effects” wherever they lead, the Court plan would not be to remedy

   population deficiencies across the state, and thus would have little in common with what

   occurred in 201. The remedy would be limited to the district invalidated and those “abutting it.”

   Personhuballah v. Alcorn, 155 F. Supp. 3d 552, 563 (E.D. Va. 2016).

          Federal courts faced with drawing a plan often employ a special master under Federal

   Rule of Civil Procedure 53. Remedial proceedings require due process, including the opportunity

   for the litigants to propose and object to remedial plans. Further briefing, and possibility

   evidentiary proceedings, would likely be necessary at that time to assess proposals in light of the

   Court’s forthcoming decision.

                                               Conclusion

          For these reasons, and those stated in Defendants’ and Defendant-Intervenors’ other

   briefing in this litigation, judgment should be entered in favor of Defendants and Defendant-

   Intervenors, and the sole claim in this case should be dismissed.


   23
     A packing claim would be brought under VRA § 2 and require proof that minority voters are
   over-concentrated in some districts, preventing them from forming an additional majority-
   minority district. Voinovich v. Quilter, 507 U.S. 146, 153 (1993). Contrary to Plaintiffs’ belated
   efforts to sneak a packing claim in, Dr. Rodden opined that the House’s approach was tailored.
   Districts were drawn “so as to spread African Americans rather evenly.” PEX69 at 11.

                                                    50
Case 3:14-cv-00852-REP-AWA-BMK Document 231 Filed 11/13/17 Page 53 of 54 PageID#
                                   8762




   Dated: November 13, 2017                   Respectfully Submitted,


   Dalton Lamar Oldham, Jr. (pro hac vice)    /s/ Katherine L. McKnight
   Dalton L Oldham LLC                        E. Mark Braden (pro hac vice)
   1119 Susan Street                          Katherine L. McKnight (VSB No. 81482)
   Columbia, SC 29210                         Richard B. Raile (VSB No. 84340)
   Tel: (803) 237-0886                        BAKER & HOSTETLER LLP
   dloesq@aol.com                             1050 Connecticut Ave NW, Suite 1100
                                              Washington, DC 20036
                                              Tel: (202) 861-1500
                                              Fax: (202) 861-1783
                                              mbraden@bakerlaw.com
                                              kmcknight@bakerlaw.com
                                              rraile@bakerlaw.com

                                              Counsel to the Virginia House of Delegates
                                              and Virginia House of Delegates Speaker
                                              William J. Howell




                                             51
Case 3:14-cv-00852-REP-AWA-BMK Document 231 Filed 11/13/17 Page 54 of 54 PageID#
                                   8763



                                   CERTIFICATE OF SERVICE

          I hereby certify that on this 13th day of November, 2017, a copy of the foregoing was

   filed and served on all counsel of record pursuant to the Court’s electronic filing procedures

   using the Court’s CM/ECF system.



                                                     /s/ Katherine L. McKnight
    Dalton Lamar Oldham, Jr. (pro hac vice)          E. Mark Braden (pro hac vice)
    Dalton L Oldham LLC                              Katherine L. McKnight (VSB No. 81482)
    1119 Susan Street                                Richard B. Raile (VSB No. 84340)
    Columbia, SC 29210                               BAKER & HOSTETLER LLP
    Tel: (803) 237-0886                              1050 Connecticut Ave NW, Suite 1100
    dloesq@aol.com                                   Washington, DC 20036
                                                     Tel: (202) 861-1500
                                                     Fax: (202) 861-1783
                                                     mbraden@bakerlaw.com
                                                     jwalrath@bakerlaw.com
                                                     kmcknight@bakerlaw.com
                                                     rraile@bakerlaw.com

                                                     Counsel to the Virginia House of Delegates
                                                     and Virginia House of Delegates Speaker
                                                     William J. Howell
